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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

CYNTHIA WEST, KRISTINE                             )
HOLLANDER, JENNIFER ZIMMERMAN,                     )
MARY ROMAN, MARIE ESPOSITO, and                    )
MICHELLE BALLON, individually and on               )
behalf of all others similarly situated,           )
                                                   )    Case No. 1:15-cv-05569
                     Plaintiffs,                   )
                                                   )
     v.                                            )    Hon. Thomas M. Durkin
                                                   )
ACT II JEWELRY, LLC, a Delaware limited            )
liability corporation d/b/a lia sophia, and        )
VICTOR K. KIAM, III,                               )
                                                   )
                    Defendants.                    )

    DECLARATION OF TODD L. MCLAWHORN IN SUPPORT OF PLAINTIFFS’
     MOTION FOR ATTORNEYS’ FEES, COSTS, AND INCENTIVE AWARDS

I, Todd, L. McLawhorn, declare:

       1.      I am a Partner of the law firm Siprut PC. I represent Plaintiffs Cynthia West

(“West”), Kristine Hollander (“Hollander”), Jennifer Zimmerman (“Zimmerman”), Mary Roman

(“Roman”), Marie Esposito (“Esposito”), and Michelle Ballon (“Ballon”) (collectively, the

“Plaintiffs”) in the above-captioned matter. I am submitting this declaration in support of

Plaintiffs’ application for an award of attorneys’ fees, costs, and incentive awards.

       2.      On October 23, 2015, Siprut PC filed this case on behalf of Plaintiffs West and

Hollander against Defendants Act II Jewelry, LLC (“Act II”), Kiam Equities Corporation, Victor

K. Kiam, III (“Victor Kiam”), and Elena Kiam, seeking to represent proposed classes of consumers

who purchased Act II’s jewelry, and sales advisors who worked for Act II. (Dkt. No. 1.) From the

inception of our work in this litigation, Siprut PC has aggressively prosecuted this case and

vigorously represented the best interests of Plaintiffs and the Classes.
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       3.      The work I and others at Siprut PC have performed on behalf of the Classes in this

case includes significant pre-filing factual and legal investigation; handling numerous exchanges

of information with opposing counsel; briefing and researching Act II’s motion to dismiss;

attending four separate private mediations; engaging in voluminous discovery with Act II and eight

third parties, each of whom were represented by separate counsel; drafting and filing a First

Amended Complaint, adding four additional class representatives, an additional putative class, and

re-naming Victor Kiam as co-Defendant; negotiating the settlement; reviewing and confirming

class data for the three classes at issue; briefing and research on class certification and settlement

approval; oversight of settlement administration; and continued communications with Class

members.

       4.      Through the date of this declaration, the total number of hours spent on this

litigation by Siprut PC is 1,810.20 hours. The total lodestar amount for attorney time based on the

firm’s current rates is $1,038,402. The hourly rates shown below are the usual and customary rates

charged for each individual in all of our cases.1 A breakdown of the lodestar is as follows:

 NAME                              HOURS                 RATE                LODESTAR
 Joseph J. Siprut, Partner         204.20                $775                $158,255
 Todd L. McLawhorn, Partner        1111.30               $650                $722,345
 John S. Marrese, Associate        224.30                $350                $78,505
 Ke Liu, Associate                 88.10                 $300                $26,430
 Jeffrey Zohn, Associate           167.60                $290                $48,604
 Michael Chang, Associate          14.70                 $290                $4,263
 TOTAL:                            1,810.20                                  $1,038,402




       1
          If an associate attorney who billed time on the case subsequently left the firm, the rates
utilized for that individual below are the rates currently charged by the firm for associates of that
rank or seniority.
                                                 -2-
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       5.        Siprut PC’s rates are consistent with the rates of attorneys at comparable consumer

class action plaintiffs firms litigating similar cases. Some recent representative examples include

the following:


 Firm name                      Case Name and No.                           Range of
                                                                             Rates
                                                                           Approved
                                                                           Associates     Partners
 Hagens Berman Sobol            In re NCAA Concussion Injury Litig.        $420-$525     $425-$950
 Shapiro LLP                    MDL 2492, 1:13-cv-09116 (N.D. Ill.)2
 Edelson PC                     In re NCAA Concussion Injury Litig.        $250-$390     $540-$725
                                MDL 2492, 1:13-cv-09116 (N.D. Ill.)3
 Edelson McGuire LLC            In re Kentucky Grilled Chicken Coupon         $295       $450-$600
                                Marketing & Sales Practice Litig.
                                MDL 2103, 1:09-cv-7960 (N.D. Ill.)4
 Edelson McGuire LLC            Miller v. Red Bull N. Am., Inc.            $215-$425     $550-$675
                                12-cv-04961 (N.D. Ill.)5
 Edelson McGuire LLC            In re Netflix Privacy Litig.               $250-$395     $500-$630
                                5:11-cv-00379-EJD (N.D. Cal.)6
 Neblett, Beard &               In re Imprelis Herbicide Marketing,        $450-$595        $750
 Arsenault                      Sales Practices & Products Liability
                                Litig.
                                MDL No. 2284, 2:11-MD-02284_GP
                                (E.D. Pa.)7
 Wolf Haldenstein Adler         In re Imprelis Herbicide Marketing,        $355-$445     $505-$890
 Freeman & Herz LLP             Sales Practices & Products Liability
                                Litig.
                                MDL No. 2284, 2:11-MD-02284_GP
                                (E.D. Pa.)8
 Wolf Haldenstein Adler         In re Michaels Stores Pin Pad Litig.          $395       $505-$890
 Freeman & Herz LLP             No. 1:1-cv-03350 (N.D. Ill.)9
 Faruqi & Faruqi, LLP           In re Michaels Stores Pin Pad Litig.       $375-$535     $650-$850
                                No. 1:1 -cv-03350 (N.D. Ill.)10

       2
         Decl. of S. Berman ¶8 (Ex. A).
       3
         Decl. of J. Edelson ¶4 (Ex. B).
       4
         Decl. of M. McMorrow ¶ 19 (Ex. C); Order, Dec. 6, 2011 (Ex. D).
       5
         Decl. of J. Edelson ¶22 (Ex. E); Order, Aug. 12, 2013 (Ex. F).
       6
         Decl. of J. Edelson ¶69 (Ex. G); Order, Mar. 18, 2013 (Ex. H).
       7
         Decl. of R. Arsenault (Ex. I); Order, Oct. 17, 2013 (Ex. K).
       8
         Decl. of F. Isquith (Ex. J); Order, Oct. 17, 2013 (Ex. K).
       9
         Decl. of F. Isquith (Ex. L); Order, Apr. 17, 2013 (Ex. N).
       10
          Decl. of A. Vizzolo at ¶ 9 (Ex. M); Order, Apr. 17, 2013 (Ex. N).
                                                 -3-
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 Stonebarger Law, APC          Amelia Foos v. Ann, Inc.                        $500            $650
                               No. 3:11-cv-2794-L-MDD (S.D. Cal.) 11

       6.      In addition, the National Law Journal’s survey of billing rates shows that Siprut

PC’s billing rates are less than the rates charged by the defense firms we typically litigate against.

See, e.g., Minor v. Christie’s, Inc., No. C 08-5445, C 09-471, 2011 WL 902235 at *7-8 (N.D. Cal.

2011) (approving partner rates of $700 & $600 per hour after taking into account the National Law

Journal’s report).

                          National Law Journal 2012 Billing Survey:12
                         Partner Billing Partner Billing     Associate Billing Associate Billing
                           Rate High     Rate Average           Rate High       Rate Average
 DLA Piper                  $1120             $775                 $760            $585
 Locke Lord                 $950              $660                 $600            $400
 Bryan Cave                 $795              $553                 $550            $373
 Perkins Coie                $910                $560               $605                $365
 Brinks Hofer Gilson         $835                $560               $450                $325
 & Lione

       7.      Siprut PC has incurred a total of $24,349.02 in out-of-pocket expenses in

connection with the prosecution of this litigation. They are categorized as follows:

              Courier/Mail/Messenger Expenses: $412.65
              Research Expenses: $866.60
              Service Fees: $2,783.82
              Mediation Fees: $14,944.11
              Accommodation/Meal/Travel Expenses: $3,119.87
              Copy Expenses: $220.75
              Computer Media Expense for Third Party Production: $450.00
              Transcript and Deposition Expenses: $1,551.22


       11
         Decl. of G. Stonebarger at ¶¶6-7 (Ex. O); Order, Sept. 23, 2013 (Ex. P).
       12
          THE NATIONAL LAW JOURNAL, The 2012 Law Firm Billing Survey (Dec. 17, 2012)
available at http://www.law.com/jsp/nlj/PubArticleNLJ.jsp?germane=1202581351631&id=120
2581266427&interactive=true.
                                                 -4-
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        8.      The expenses pertaining to this case are reflected in the books and records of Siprut

PC. These books and records are prepared from expense vouchers, check records, and other

documents and are an accurate record of the expenses.

        I declare, in accordance with 28 U.S.C. § 1746, under penalty of perjury that the foregoing

is true and correct.

        Executed this 23rd day of March, 2018.


                                                              s/ Todd L. McLawhorn
                                                              Todd L. McLawhorn




                                                 -5-
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                                Exhibit A
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                                 Exhibit B
Case:
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


                                                                    MDL No. 2492

IN RE NATIONAL COLLEGIATE                                 Master Docket No. 1:13-cv-09116
ATHLETIC ASSOCIATION STUDENT-
ATHLETE CONCUSSION INJURY                                    This Documents Relates To:
LITIGATION                                                           All Cases

                                                                  Judge John Z. Lee

                                                      Magistrate Judge Geraldine Soat Brown


                             DECLARATION OF JAY EDELSON

I, Jay Edelson, pursuant to 28 U.S.C. § 1746, hereby declare on oath as follows:

       1.      I am the Founder & CEO of the law firm of Edelson PC, which has been retained

to represent Objector Anthony Nichols in this matter. I am over the age of eighteen and am fully

competent to make this declaration. I make this declaration based upon person knowledge unless

otherwise indicated. If called upon to testify as to the matters stated herein, I could and would

competently do so.

       2.      In late 2013 Anthony Nichols retained my firm to represent him in a personal-

injury suit against the NCAA related to head injuries sustained while Nichols played football at

San Diego State University from 1989 to 1992.

       3.      Over the course of this litigation, my firm, along with attorneys at Gordon Law

Offices, Ltd. and Clifford Law Offices, P.C. (who represent former named plaintiff, now

objector, Adrian Arrington), successfully raised, on behalf of Mr. Nichols, a number of

objections to the various settlements proposed by Class Counsel and the NCAA. As set out in

Mr. Nichols’ Petition for and Memorandum in Support of an Award of Attorneys’ Fees and
Case:
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Service Award, my firms’ efforts in this matter led to substantial improvements to the settlement

that earned preliminary approval from the Court.

        4.     As detailed in the chart below, to date attorneys representing Mr. Nichols have

logged 3002.23 hours in uncompensated time advancing objections on behalf of Mr. Nichols,

resulting in a total balance of $1,463,563.75 in attorneys’ fees, exclusive of costs. In addition, the

chart reflects the level of experience, billable rates, and the hours each attorney listed worked on

this matter.

         ATTORNEY                   YEARS OF
         (Position)                EXPERIENCE          HOURS          HOURLY             TOTAL
                                                                       RATE

                                             EDELSON PC

Jay Edelson
                                        20              505.0           $725           $366,125.00
(Founder & CEO)
Rafey Balabanian
                                        12              211.5           $625           $132,187.50
(Managing Partner)
Steven Woodrow
                                        12              135.4           $570           $77,178.00
(Former Partner)
Ryan Andrews
                                        12              46.8            $610           $28,548.00
(Partner)
Ari Scharg
                                         8              389.6           $540           $210,384.00
(Partner)
Ben Thomassen
                                         6              475.0           $390           $201,875.00
(Associate)
John Ochoa
                                         6              50.3            $390           $19,617.00
(Former Associate)
Alicia Hwang
                                         5              40.4            $350           $14,140.00
(Former Associate)
Mark Eisen
                                         4             233.68           $335           $78,282.80
(Former Associate)
Case:
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         ATTORNEY                  YEARS OF
         (Position)               EXPERIENCE         HOURS          HOURLY             TOTAL
                                                                     RATE
Aaron Lawson
                                        4             109.8           $350           $38,430.00
(Associate)
Jacqueline Maglio
                                        2             26.84           $295           $7,917.80
(Former Staff Attorney)
Todd Logan
                                        1             177.0           $270           $47,790.00
(Former Associate)
Jennifer Lee
                                        1              45.1           $250           $11,275.00
(Former Associate)
Law Clerks                             n/a            180.81          $215           $38,874.15
TOTALS                          2627.23 hours                                     $1,272,624.25

                                 GORDON LAW OFFICES, LTD.1

Richard Gordon
                                       15             257.4           $575          $148,005.00
(Partner)
Alex Chez
                                        1              59.6           $245           $14,602.00
(Associate)
Robert Albrecht
                                        5               2.1           $475            $997.50
(Associate)
Min Hye Sim
                                        3              30.4           $395           $12,008.00
(Associate)
TOTALS                          349.5 hours                                       $175,612.50

                                 CLIFFORD LAW OFFICES, P.C.2

Shannon McNulty
                                       12              25.5           $600           $15,300.00
(Partner)
TOTALS                          25.5 hours                                           $15,300.00
            COMBINED TOTAL 3002.23 hours                                           $1,463,536.75


       5.      The attorney rates used to calculate my firm’s base lodestar are comparable to

those charged by attorneys with equivalent experience, skill, and reputation for similar services

in the Chicago legal market, as well as other comparable markets throughout the country.


1
      A separate declaration attesting to this time will be submitted by a representative of
Gordon Law Offices, Ltd.
2
      A separate declaration attesting to this time will be submitted by Shannon McNulty.
Case:
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       6.      It is the policy of Edelson PC that attorneys are responsible for keeping track of

their billable time by at least the tenth of the hour through billing management software known

as “FreshBooks.” We have carefully reviewed the reports generated by this software and have

removed entries of time deemed to be unnecessary or duplicative. In my opinion, the expenditure

of time by the attorneys and law clerks at Edelson PC that worked on this matter is reasonable.

       7.      Although Edelson PC is primarily a plaintiff’s class action firm, we also represent

clients on an hourly basis in complex litigation in other matters from time to time, including the

defense of certain non-consumer class actions and litigation of complex business disputes. The

hourly rates used to calculate the lodestar figure are the same as those charged to our firm’s

hourly paying clients. Moreover, when Edelson PC brings cases on behalf of individual clients

on a contingent basis, it charges a 33 1/3%, plus expenses. My Firm’s rates have been approved

by state and federal courts across the country as reasonable.

       I declare under penalty of perjury that the foregoing is true and correct.


Date: January 13, 2017                               /s/     Jay Edelson
                                                       Jay Edelson
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                                 Exhibit C
    Case:
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           1:13-cv-00131
           1:14-cv-01741  Document#:
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS,
                                    EASTERN DIVISION

                                                        MDL 2103
 In re Kentucky Grilled Chicken Coupon
 Marketing & Sales Practices Litigation,
                                                        Case No. 1:09-cv-7670
 THIS DOCUMENT RELATES TO
 ALL CLASS ACTIONS                                      Hon. James F. Holderman




                          DECLARATION OF MICHAEL J. MCMORROW


       Pursuant to 28 U.S.C. § 1746, I, Michael J. McMorrow, hereby declare and state as follows:
       1.      I am an attorney admitted to practice in the State of Illinois and in the United States
District Court for the Northern District of Illinois. I am entering this declaration in support of Plaintiff’s
Motion & Memorandum for Final Approval of Class Action Settlement, Approval of Attorneys’ Fees
and Incentive Award. I am fully competent to make this declaration. This declaration is based upon my
personal knowledge, except where expressly noted otherwise.
       2.      I am a partner in the law firm of Edelson McGuire LLC and have been named Class

Counsel in this matter, along with Jay Edelson, the managing partner of my firm.
       3.      I, as well as other members of Edelson McGuire LLC that were actively involved in the
litigation of this matter, have regularly engaged in major complex litigation, and have had experience in
prosecuting consumer class action lawsuits of similar size and complexity. (See Firm Resume of
Edelson McGuire LLC, a true and accurate copy of which is attached as Exhibit 1).
       4.      Based on my experience as a class action attorney, and through Edelson McGuire LLC’s
investigation, litigation, mediation, and settlement process, I personally have gained an intimate
understanding of the instant litigation and believe the settlement to more than exceed the “fair, adequate,
and reasonable” standard required for the Court’s approval.



                                                    1
                                      Declaration of Michael J. McMorrow
    Case:
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           1:14-cv-01741  Document#:
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                                       61-1
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       5.      I believe that the Plaintiffs’ claims in this case are strong, based on this Court’s opinion
denying Defendants’ Motion to Dismiss and the uniform actions of the Defendants giving rise to the
claims in this case. But I am also aware that Defendants have raised several affirmative defenses and
factual issues during the litigation of this case and during the settlement conferences, any of which, if
successful, would result in the Settlement Class receiving no relief whatsoever. Defendants are also
represented by experienced and highly-skilled counsel, and further litigation may result in this Court or
the Seventh Circuit finding no liability in this matter.
       6.      In the absence of settlement, I believe that the expense, duration and complexity of the
resulting protracted litigation would be substantial. I believe that evidence and witnesses from across
the country would have to be assembled for such litigation. In my experience, given the complexity of
the factual and legal issues, as well as the amount in controversy, the defeated party or parties would
likely appeal both the certification decision and the merits of any decision. As such, I believe that the
immediate relief provided to the Settlement Class under the Settlement Agreement supports final
approval.
       7.      Both Plaintiffs and Defendants undertook significant discovery in this matter both prior
to, and subsequent to, the two settlement conferences presided over by Magistrate Judge Maria Valdez
of this Court on September 3, 2010 and October 18, 2010. In addition to written responses to discovery
by Defendants and all five Plaintiffs, including dozens of written discovery requests, Defendants
produced over 15,000 pages of documents, and I took the deposition of KFC’s Chief Operations Officer,
Larry Roberts, in January 2011. Additional depositions of Plaintiffs and other officers of Yum, KFC,
and various third parties were contemplated, but the instant settlement obviated the need for such
depositions.
       8.      The formal and informal discovery exchanged in this case both before and after the two
court-ordered settlement conferences with Hon. Maria Valdez was sufficient to allow Plaintiffs to
effectively negotiate and engage in informed negotiations for relief on behalf of the Settlement Class.
       9.      At the Court’s suggestion, the parties engaged in two settlement conferences with Judge
Valdez on September 3, 2010 and October 18, 2010. I attended these conferences along with Mr.



                                                    2
                                      Declaration of Michael J. McMorrow
    Case:
     Case:1:15-cv-05569
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           1:13-cv-00131
           1:14-cv-01741  Document#:
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Edelson, and both outside and in-house counsel represented Defendants at the settlement conferences.
Judge Valdez was instrumental in advising both sides of the relative strengths of their cases and the
advisability of compromise. After several rounds of arms-length negotiations with the assistance of
Judge Valdez, the parties were at an impasse in their settlement discussions, and decided to move
forward with litigation and discovery.
       10.     Discovery resumed shortly after the latter settlement conference, and continued until the
parties reached the instant settlement. The principal terms of the settlement were negotiated over the
course of approximately one week, through several phone conferences that began immediately after the
deposition of Mr. Roberts.
       11.     Despite reaching an agreement in principal, my firm negotiated the specific terms of the
Settlement Agreement with counsel for the Defendants over the next several months. Furthermore, on
July 12, 2011, I attended an additional settlement conference with counsel for the Defendants and the
Court. The Court questioned all counsel about the terms and effect of the Settlement Agreement in great
detail over several hours, leading to additional revisions to the Settlement Agreement.
       12.     After publication of the summary notice of the settlement in Parade on September 11,
2011, I contacted by email each potential Settlement Class member for whom I had such information
and provided a copy of the summary notice. None of the Settlement Class members I corresponded with
objected to the terms of the Settlement Agreement. News of the settlement was also independently
reported in several online sites, including: www.consumerist.com; www.classactionsettlementnews.com;
http://www.moxiebird.com; http://www.topclassactions.com; and http://jennstrathman.com.
       13.     My office received no negative comments or opposition to the settlement from any state
or federal entity in response to the notice provided by Defendants pursuant to the class Action Fairness
Act. The Tennessee Attorney General’s Office contacted me by phone to discuss the terms of the
settlement, but raised no concerns or objection.
       14.     My firm’s billable rates and the hours of each attorney who worked on this matter are
incorporated in the chart below. The attorneys’ expenditure of time has been reasonable and necessary.
Although several lawyers were involved in the litigation of this matter, each made conscious effort to



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minimize the duplication of work and I have reviewed the hours, submitted and adjusted for time I
deemed to be unnecessary or duplicative. Our representation of the Plaintiffs in this case was
undertaken entirely on a contingency basis, and the Plaintiffs retained by my firm agreed that a fair
award of attorneys’ fees from a fund recovered for the class would be one-third of the total recovery plus
reimbursement of all costs and expenses with interest. By taking this case on a contingency basis and
not being paid by the hour, we had an incentive to conduct our efforts efficiently. So too, being
responsible for advancing all expenses, we had an incentive not to expend funds unnecessarily.
       15.     Class Counsel assumed a significant risk of non-payment in initiating and prosecuting
this case given the complexity of legal issues involved and the vigorous defense that Defendants and
their highly-skilled counsel raised in the Motion to Dismiss and in discovery, and were prepared to
continue to raise in this litigation. Given this, Class counsel would not have prosecuted this case
without the prospect of obtaining a percentage of the common fund or applying a reasonable multiplier
to our costs and fees.
       16.     Class Counsel was required to conduct substantial investigation into the claims in this
case, to respond to a Motion to Transfer before the Judicial Panel on Multidistrict Litigation, to respond
to the Motion to Dismiss, to engage in adequate discovery and further litigation in this case, to prepare
for and attend the two settlement conferences with Judge Valdez, to prepare a comprehensive settlement
agreement, to prepare preliminary approval papers and accompanying exhibits, including the Class
Notices and several declarations, and to prepare the instant final approval papers. All of this work was
done on behalf of the Plaintiffs and the Settlement Class without compensation and requiring that other
work be foregone.
       17.     As is the general practice of most law firms, each of the attorneys and law clerks at
Edelson McGuire LLC are responsible for keeping track of their billable time. The majority of these
records are centralized in a billing management software program to which all employees have access,
known as “BigTime.”
       18.     Based on my experience doing plaintiff’s class action work (in addition to nine years
doing complex commercial litigation and regulatory litigation) and my knowledge of the billing rates of



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other firms that pursue complex consumer class action litigation, I believe that the attorneys performing
work on this litigation are billed at rates that correlate to their respective experience, that are reasonable
in the Chicago, New York, Florida, Michigan, and California legal markets and are at or below average
for attorneys of similar backgrounds and experience. Additionally, state and federal courts in other
consumer class action settlements have approved rates substantially similar to these.
       19.     I have reviewed the hours of the attorneys’ and law clerks’ listed below for work
performed on this case and their respective hours and billing rates. The hours submitted were reviewed
and any unnecessary hours or duplicative hours have been adjusted. The rates listed are the same rates
we use for hourly clients, which comprise a material part of our firm’s revenues. The hours, rates, and
experience of the particular attorneys involved in this matter are provided in the chart below:

     ATTORNEY              YEARS OF                  HOURS             HOURLY                TOTAL
       (position)          PRACTICE                                      RATE
   J. Edelson            15 years             57.3                  $600                $34,380.00
   (Managing
   Partner: Edelson
   McGuire)
   M. McGuire            10 years             27.2                  $550                $14,960.00
   (Partner: Edelson
   McGuire)
   M. McMorrow           11 years             595.5                 $470                $279,885.00
   (Partner: Edelson
   McGuire)
   R. Andrews            6 years              7.0                   $450                $3,150.00
   (Partner:
   Edelson
   McGuire)
   S. Teppler            31 years             71.7                  $600                $43,120.00
   (Partner: Edelson
   McGuire)
   Steven L.             6 years              85.0                  $450                $38,250.00
   Woodrow
   (Partner: Edelson
   McGuire)
   Ben Richman           2 years              24.10                 $295                $7,109.00
   (Associate
   Edelson
   McGuire)
   Edelson               N/A                  38.5                  $210                $8,085.00
   McGuire Law


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   Clerks

   TOTAL                                      906.3                                     $428,939.00




       20.     In addition, my law firm incurred costs during this case totaling $6,202.05. This amount
includes charges for filing, mediation, travel, transportation, meals, and expert consultants. My firm
does not generally charge for small copying charges, long distance telephone calls, Westlaw research
charges or other incidental costs. As such, these amounts are not included.
       21.     Edelson McGuire LLC will certainly incur future time and expense after the date of final
approval, including attending the final fairness hearing, communicating with counsel, and helping to
resolve any disputes over claims submitted by members of the class. I expect Edelson McGuire LLC’s
lodestar to increase by an additional $10,000.
       22.     In addition, named Plaintiffs James Asanuma, Daleen Brown, Christine Doering,
Veronica Mora, and Kay Ready brought this matter and their continued attentive involvement was
critical to the ultimate successful resolution of this matter to the benefit of the class. The Plaintiffs
showed a strong commitment to the Class and this action by assisting Class Counsel in investigation,
and in reviewing and commenting on draft discovery responses. The Plaintiffs aided in preparation for
the settlement conferences that preceded this settlement, and remained active and engaged in the
litigation throughout. I believe that but for the participation of the named Plaintiffs, the substantial
benefit to the class available through the settlement would not have resulted.
       23.     Given their involvement and willingness to participate and undertake the responsibilities
and risks attendant with bringing a representative action, and their continued attention to this matter, we
request that the Court approve the incentive award. Prior to the settlement conferences, the parties never
discussed incentive awards of any type, and there was no pre-agreement concerning any award for being
a Class Representative.
       24.     After receiving a copy of the Objection filed by attorney Sam P. Cannata on behalf of Jill
K. Cannata in this matter, I checked on the federal courts’ PACER document retrieval service for



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records of attorney Cannata’s other litigation. According to PACER, Mr. Cannata has appeared in ten
cases in federal courts, one of which was a class action filed by him. The remaining nine cases were
class action settlements to which Mr. Cannata objected, either as a class member or as an attorney
representing, in most instances, an apparent family member. All of the objections were filed in 2010 or
2011. The federal cases in which Mr. Cannata has filed objections are as follows:
   •   Marsikyan v. Mercedes-Benz, USA, LLC, No. 08-04876 (C.D. Cal. 2010);
   •   Hartless v. Clorox Co., No. 06-02705 (S.D. Cal. 2011);
   •   In re Quantcast Adv. Cookie Litig., No. 10-5484 (C.D. Cal., 2011);
   •   In re Vytorin/Zetia Mktg. Sales Practices, No. 08-285, MDL No. 1938 (D. N.J. 2010);
   •   In re HP Inkjet Printer Litig., No. 05-03580 (N.D. Cal. 2011);
   •   Masters v. Lowe’s Home Centers, Inc., No. 09-0255 (S.D. Ill. 2011);
   •   Schulte v. Fifth Third Bank, No. 09-06655 (N.D. Ill. 2011);
   •   Trombley v. National City Bank, No. 10-00232 (D. D.C. 2011); and
   •   Gemelas v. Dannon, No. 08-00236 (N.D. Ohio 2010).
(True and correct copies of Mr. Cannata’s objections in these cases are attached hereto as Group Exhibit
2.) The objection in Masters v. Lowe’s was ostensibly filed pro se by Grace Cannata. In several of
these cases, e.g., In re HP Inkjet Printer, In re Vytorin/Zetia, and Marsikyan v. Mercedes-Benz, Mr.
Cannata later withdrew those objections. (True and correct copies of Mr. Cannata’s withdrawals in these
cases are attached hereto as Group Exhibit 3.) In In re Vytorin/Zetia, class counsel agreed to pay Mr.
Cannata and a group of other attorneys $55,000 from class counsel’s fees and expenses. (See Group
Exhibit 2.) Based on my review of the dockets of these cases, it appears that none of Mr. Cannata’s
objections in these cases was sustained by the court. (True and correct copies of the court opinions
overruling Mr. Cannata’s objections are attached hereto as Group Exhibit 4.)
       25.     In Marsikyan v. Mercedes-Benz, Mr. Cannata lists his home address as 14944 Hillbrook
Drive, Hunting Valley, Ohio 44022. (See Group Exhibit 3.) The address listed for Jill K. Cannata in the
Objection in this case lists her address as 14944 Hillbrook Drive, Cleveland, Ohio 44022.




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        26.    I discovered that Mr. Cannata is a principal in the law firm of Cannata Phillips LPA, the
offices of which are at 9555 Vista Way, Suite 200, Cleveland, Ohio 44125. (A true and correct copy of
the Cannata Phillips website, printed on November 16, 2011, is attached hereto as Exhibit 5.)
        27.    I searched the online records of the Ohio Secretary of State for Cannata Phillips LPA and
for the Law Offices of Sam P. Cannata. Cannata Phillips is registered with the office of the Ohio
Secretary of State, and the firm appears on the Secretary of State’s website as of November 16, 2011.
The Law Offices of Sam P. Cannata does not appear on the Ohio Secretary of State’s website as of
November 16, 2011.
        28.    In addition, I searched the online records of the Ohio Bar Association for Cannata
Phillips LPA and for the Law Offices of Sam P. Cannata. The Law Offices of Sam P. Cannata does not
appear on that website. Cannata Phillips LPA appears as the registered address and firm of Mr. Cannata
as of November 16, 2011.
        29.    Edelson McGuire has no affiliation with Feeding America. I am aware of no affiliation
between Feeding America and either Defendants or their counsel. My firm selected Feeding America as
an appropriate cy pres recipient due to its commitment to feeding the hungry, its national scope, and its
excellent reputation.
30.     True and correct copies of the Declarations of Seth Safier, David Parisi and Mark Freedman, all
members of Plaintiffs’ Steering Committee, are attached hereto as Exhibits 6, 7, and 8, respectively.
The Declaration of Craig Borison is attached hereto as Exhibit 9.
31.     A true and correct copy of the Declaration of Kim Schmidt, Senior Vice President of Rust
Consulting, Inc., is attached hereto as Exhibit 10.


        I declare under penalty of perjury that the foregoing is true and correct.



        Executed this 16th day of November, 2011.

                                                          /s/_Michael J. McMorrow________
                                                              Michael J. McMorrow



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                                 Exhibit D
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS,
                               EASTERN DIVISION


                                                    MDL 2103
 In re Kentucky Grilled Chicken Coupon
 Marketing & Sales Practices Litigation,
                                                    Case No. 1:09-cv-7670
 THIS DOCUMENT RELATES TO                           Hon. James F. Holderman
 ALL CLASS ACTIONS




                                FINAL JUDGMENT ORDER

              The Court, having considered Plaintiffs’ Motion and Memorandum in Support of

Final Approval of Class Action Settlement and Approval of Attorneys’ Fees and Incentive

Awards (the “Motion”) of the settlement (the “Settlement”) of the above-captioned case (“the

Litigation”) with KFC Corporation (“KFC”) and YUM! Brands, Inc. (“YUM!”) (collectively,

“Defendants” ) pursuant to the Settlement Agreement, As Amended, between Plaintiffs James

Asanuma, Daleen Brown, Christine Doering, Veronica Mora, and Kay Ready (collectively, the

“Plaintiffs”) and Defendants (the “Settlement Agreement”), having considered all of the

submissions and arguments with respect to the Motion, and having held a Fairness Hearing on

November 30, 2011, due and adequate notice having been given to the Settlement Class, and the

Court having been fully advised in the premises, it is HEREBY ORDERED, ADJUDGED and

DECREED as follows:

              1.      Unless defined herein, all capitalized terms in this Order shall have the

respective meanings as the same terms in the Settlement Agreement.
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                2.      This Court has jurisdiction over the subject matter of this Litigation and

over all Parties to the Litigation, including all Settlement Class members.


                3.      On August 16, 2011, this Court granted preliminary approval of the

Settlement Agreement and certified the Settlement Class consisting of:

        all persons who (a) downloaded an Original or PDF Coupon between May 5,
        2009 at 9 a.m. central time and May 6, 2009 at 11:59 p.m. central time from
        Oprah.com or unthinkfc.com, and (b) did not receive (i) the KGC Free Meal
        pursuant to the Original Coupon, the PDF Coupon, or the Raincheck Coupon, (ii)
        a “Chicken Check” or other compensation from KFC in response to a complaint
        concerning the Oprah Promotion, or (iii) a free meal or other consideration at a
        restaurant unaffiliated with Defendants that agreed to accept the KGC Coupons.

(the “Preliminary Approval Order”). Excluded from the Settlement Class are those persons who

have submitted valid and timely requests for exclusion pursuant to the Preliminary Approval

Order and the Notice to the Settlement Class. Valid and timely requests for exclusion were

received from Tim Brown and Ed Klar, as noted by the Settlement Adminstrator. Mr. Brown

and Mr. Klar are found to have validly excluded themselves from the Settlement in accordance

with the provisions of the Preliminary Approval Order, and are not bound by this Judgment or

the Release herein.


                4       Notice to the Settlement Class has been provided in accordance with the

Preliminary Approval Order, and the substance of and dissemination program for the Notice

fully complied with the requirements of Fed. R. Civ. P. 23 and due process, constituted the best

notice practicable under the circumstances, and provided due and sufficient notice to all persons

entitled to notice of the settlement of this Litigation.


                5.      The Defendants properly and timely notified the appropriate state and

federal officials of the Settlement Agreement, pursuant to the Class Action Fairness Act of 2005


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(“CAFA”), 28 U.S.C. § 1715. The Court has reviewed the substance of Defendants’ notices and

accompanying materials, and finds that they complied with all applicable requirements of

CAFA.


                 6.    The Settlement Agreement was arrived at as a result of arm’s-length

negotiations conducted in good faith by counsel for the parties, including two settlement

conferences presided over by a Magistrate Judge of this Court, and is supported by Plaintiffs and

Class Counsel.


                 7.    The Settlement as set forth in the Settlement Agreement is fair,

reasonable, adequate, and in the best interests of the Settlement Class in light of the complexity,

expense, and duration of litigation and the risks involved in establishing liability and damages

and in maintaining the class action through trial and appeal.


                 8.    The settlement consideration provided under the Settlement Agreement

constitutes fair value given in exchange for the release of the Released Claims against the

Released Parties. The Court finds that the consideration to be paid to members of the Settlement

Class is reasonable, considering the facts and circumstances of the numerous types of claims and

affirmative defenses asserted in the Litigation, and the potential risks and likelihood of success

of alternatively pursuing trials on the merits.


                 9.    The Settlement Agreement is finally approved as fair, reasonable,

adequate, and in the best interests of the Settlement Class, for the reasons set forth herein and in

the “Final Approval of Class Action Settlement” issued by the Court on November 30, 2011

[Dkt. 113] (the “Final Approval Order”). The Plaintiffs and Class Counsel adequately

represented the Settlement Class for purposes of entering into and implementing the Settlement

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Agreement. Accordingly, the Settlement Agreement is hereby finally approved in all respects,

and the Parties are hereby directed to perform its terms. The Parties and Settlement Class

members who did not timely exclude themselves from the Settlement Class are bound by the

terms and conditions of the Settlement Agreement.


               10.     The Settlement Class described in Paragraph 3 above is hereby finally

certified, solely for purposes of effectuating the Settlement and this Order.


                11.    The requirements of Rule 23(a) and (b)(3) have been satisfied for

settlement purposes, for the reasons set forth herein and in the for the reasons set forth herein

and in the “Final Approval of Class Certifiation” issued by the Court on November 30, 2011

[Dkt. 112] (the “Final Class Certification Order”). The Settlement Class is so numerous that

joinder of all members is impracticable; there are at least some questions of law or fact common

to the class; the claims of the Plaintiffs are typical of the claims of the Settlement Class; the

Plaintiffs will fairly and adequately protect the interests of the class; the questions of law or fact

common to class members predominate over any questions affecting only individual members;

and a class action is superior to other available methods for fairly and efficiently adjudicating the

controversy between Plaintiffs and Defendants.


               12.     The preliminary appointment of the following as Class Counsel is hereby

confirmed:

               Jay Edelson

               Michael J. McMorrow

               Edelson McGuire LLC

               350 North LaSalle


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               Suite 1300

               Chicago, IL 60654

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               The preliminary appointment of the following as Plaintiffs’ Steering Committee

is hereby confirmed:

               Seth Safier
               Adam Gutride
               Gutride Safier, LLP
               835 Douglass Street
               San Francisco, CA 94114

               David C. Parisi,
               Parisi & Havens LLP
               15233 Valleyheart Drive
               Sherman Oaks, CA 91403

               Mark H. Freedman
               Law Offices of Freedman & Freedman, PLC
               24725 West Twelve Mile Road
               Suite 220
               Southfield, MI 48034

               Class Counsel and Plaintiffs’ Steering Committee are experienced in class

litigation, including litigation of similar claims in other cases, and have fairly and adequately

represented the interests of the Settlement Class in the Litigation and the Settlement Agreement.


               13.     The Litigation is hereby dismissed without costs or fees, except as

otherwise provided in the Settlement Agreement and this Order. This judgment has been entered

without any admission by Defendants as to the merits of any of the allegations in the complaint.


               14.     The Parties are directed to distribute the consideration to the Settlement

Class pursuant to Paragraph 5 of the Settlement Agreement.


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               15.     The Releasing Parties and their Affiliated Parties release and forever

discharge the Released Parties and their Affiliated Parties from the Released Claims.


               A.      As used in this Order, the “Releasing Parties” shall mean Plaintiffs and

each Settlement Class member (except a person who has obtained proper and timely exclusion

from the Settlement Class pursuant to Paragraph 13 of the Settlement Agreement), on her/his

own behalf and on behalf of her/his spouse.


               B.      As used in this Order, the “Released Parties” shall mean (i) KFC and

YUM!; (ii) any KFC franchisee or the National Council and Advertising Cooperative,

Inc. (“NCAC”); (iii) any person or entity in the chain of distribution of any goods or services for

YUM!, KFC, or KFC franchisees, including but not limited to the Unified FoodService

Purchasing Co-Op, LLC (“UFPC”), suppliers, and distributors; and (iv) any person or entity

connected in any way, directly or indirectly, with the Oprah Promotion, the KGC Free Meal, the

KGC Coupons, or the sales, marketing, or advertising of Kentucky Grilled Chicken®, including

but not limited to Ms. Oprah Winfrey, Harpo Productions, Inc., The Oprah Winfrey Show, Draft

FCB, Coupons, Inc., Gomez, Rackspace, and Fulfillment Concepts, Inc.


               C.      As used in this Order, the “Affiliated Parties” shall mean


                               (i)    In the case of a natural person, her/his current or former

                       spouse, children, or any relative who may claim an interest in the Released

                       Claims, as well as the present, former, and future respective

                       administrators, agents, assigns, attorneys, executors, heirs, partners,

                       predecessors-in-interest, and successors of any of the foregoing.



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                               (ii)    In the case of an entity such as a partnership, corporation,

                       or limited liability company, its present, former, and future direct and

                       indirect parent companies, affiliates, agents, divisions, predecessors-in-

                       interest, subsidiaries, and successors and all of the aforementioneds’

                       respective present, former, and future officers, directors, partners,

                       employees, shareholders, members, agents, assigns, and attorneys.


               D.      As used in this Order, the “Released Claims” shall mean any and all

rights, duties, obligations, claims, actions, causes of action, or liabilities, whether arising under

local, state, or federal law, whether by statute, contract, common law, or equity, whether known

or unknown, suspected or unsuspected, asserted or unasserted, foreseen or unforeseen, actual or

contingent, liquidated or unliquidated that arise out of or relate in any way to: (i) claims that

were or could have been asserted in the Litigation; (ii) the Oprah Promotion, the KGC Free

Meal, or the KGC Coupons, or any representation, misrepresentation, promise, communication,

act, or omission regarding the same; (iii) any matters alleged, argued, raised, or asserted in any

pleading or court filing in the Underlying Actions or the Litigation; or (iv) any representation,

misrepresentation, promises, communication, act, or omission regarding the topical seasonings

for Kentucky Grilled Chicken®.


               16.     The release in Paragraph 15 includes claims that are currently unknown to

the Releasing Parties. The release in this Order and the Settlement Agreement fully, finally, and

forever discharges all Released Claims, whether now asserted or unasserted, known or unknown,

suspected or unsuspected, which now exist, or heretofore existed or may hereafter exist, which if

known, might have affected their decision to enter into this release. Each Releasing Party shall

be deemed to waive any and all provisions, rights, and benefits conferred by any law of the

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United States, any state or territory of the United States, or any state or territory of any other

country, or principle of common law or equity, which governs or limits a person’s release of

unknown claims. The Releasing Parties understand and acknowledge that they may hereafter

discover facts in addition to or different from those that are currently known or believed to be

true with respect to the subject matter of this release, but have agreed that they have taken that

possibility into account in reaching this Settlement Agreement and that, notwithstanding the

discovery or existence of any such additional or different facts, as to which the Releasing Parties

expressly assume the risk, they fully, finally, and forever settle and release any and all Released

Claims, known or unknown, suspected or unsuspected, which now exist, or heretofore existed, or

may hereafter exist, and without regard to the subsequent discovery or existence of such

additional or different facts. The foregoing waiver includes, without limitation, an express

waiver, to the fullest extent not prohibited by law, by Plaintiffs, the Settlement Class members,

and all Releasing Parties, of any and all rights under California Civil Code Section 1542, which

provides:

       A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
       WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
       EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
       THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
       HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
       WITH THE DEBTOR.

In addition, Plaintiffs, Settlement Class members, and all Releasing Parties also expressly waive

any and all provisions, rights, and benefits conferred by any law or principle of common law or

equity, that are similar, comparable, or equivalent, in whole or in part, to California Civil Code

Section 1542.


                17.    Plaintiffs, Settlement Class members, and the Releasing Parties are

permanently enjoined and barred from commencing or prosecuting any action asserting any of
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the Released Claims, either directly, representatively, derivatively, or in any other capacity,

whether by a complaint, counterclaim, defense, or otherwise, in any local, state, or federal court,

or in any agency, or other authority or forum wherever located. Any person or entity who

knowingly violates such injunction shall pay the attorneys’ fees and costs incurred by

Defendants or any other Released Party or their Affiliated Parties as a result of such violation.


               18.     The Court approves the agreed-upon Fee Award to Class Counsel in the

amount of $515,000.00, which the Court finds to be fair and reasonable for the reasons set forth

in the Final Approval Order. Defendants shall pay the Fee Award pursuant to and in the manner

provided by the terms of the Settlement Agreement.

               19.     The Court approves the payment by Defendants of $25,000.00 in the

aggregate to the Plaintiffs as an incentive award for taking on the risks of litigation and helping

achieve the results to be made available to the Settlement Class. Such payment shall be made by

Defendants pursuant to and in the manner provided by the terms of the Settlement Agreement.

               20.     Without affecting the finality of this judgment, the Court also retains

exclusive jurisdiction over Defendants, Plaintiffs, and Settlement Class members regarding the

Settlement including without limitation the Settlement Agreement and this Final Judgment

Order. Defendants, Plaintiffs, and Settlement Class members are hereby deemed to have

submitted irrevocably to the exclusive jurisdiction of this Court for any suit, action, proceeding,

or dispute arising out of or relating to the Released Claims, this Order, or the Settlement

Agreement, including but not limited to the applicability of the Released Claims, the Settlement

Agreement, or this Order.

               21.     The Settlement Agreement and the proceedings taken and statements

made pursuant to the Settlement Agreement or papers filed seeking approval of the Settlement


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Agreement, and this Order, are not and shall not in any event be construed as, offered in

evidence as, received in evidence as, and/or deemed to be evidence of a presumption,

concession, or an admission of any kind by any of the Parties of (i) the truth of any fact alleged

or the validity of any claim or defense that has been, could have been, or in the future might be

asserted in the Litigation, any other litigation, court of law or equity, proceeding, arbitration,

tribunal, investigation, government action, administrative proceeding, or other forum, or (ii) any

liability, responsibility, fault, wrongdoing, or otherwise of Defendants. Defendants have denied

and continue to deny the claims asserted by Plaintiffs. Nothing contained herein shall be

construed to prevent a party from offering the Settlement Agreement into evidence for the

purposes of enforcement of the Settlement Agreement. Subject to the terms and conditions of

the Settlement Agreement, this Court hereby dismisses the Litigation without prejudice. This

dismissal without prejudice shall not allow the Parties or any members of the Class to litigate or

otherwise reopen issues resolved by this judgment, or included within the Released Claims, but

is “without prejudice” so as to allow the Court to supervise the implementation and

administration of the Settlement.


               22.     For the reasons set forth in the Final Approval Order and the Final Class

Certification Order, the objection of Jill K. Cannata is overruled in its entirety.


               23.     Based upon the Court’s finding that there is no just reason for delay of

enforcement or appeal of this Order notwithstanding the Court’s retention of jurisdiction to

oversee implementation and enforcement of the Settlement Agreement, the Court directs the

Clerk to enter final judgment pursuant to Rule 54(b).




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                                            BY THE COURT:




Dated: December 6, 2011                     _____________________________________
                                            The Honorable James F. Holderman
                                            Chief Judge, United States District Court




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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION
THI MILLER, individually and on behalf of
all others similarly situated,
               Plaintiff,                              Case No. 12-cv-04961
v.
                                                       [Hon. Judge St. Eve]
RED BULL NORTH AMERICA, INC., a
California corporation,
               Defendant.


                              DECLARATION OF JAY EDELSON

Pursuant to 28 U.S.C. § 1746, I Jay Edelson, hereby declare and state as follows:

       1.      I am over the age of eighteen and am fully competent to make this declaration. I

make this declaration based upon personal knowledge unless otherwise indicated. If called upon

to testify, I could and would competently do so.

       2.      I am an attorney admitted to practice in the State of Illinois and in the United

States District Court for the Northern District of Illinois, and other federal district courts. I am

making this declaration in support of Plaintiff’s Uncontested Motion for Approval of Attorney’s

Fees, Expenses, and Incentive Award.

       3.      I am the Managing Partner of the law firm Edelson LLC. Edelson LLC was

retained by Plaintiff Thi Miller for the purpose of bringing this litigation and I, along with other

members of my firm, have been appointed Class Counsel in this case.

       4.      My firm has extensive experience prosecuting class actions and other complex

litigation of similar nature, scope, and complexity, and also has intimate knowledge of the law in

the field of cellular telephony and has been a pioneer in the field of consumer class actions

involving the transmission unauthorized text messages under the TCPA. The first federal Circuit

Court opinion authorizing consumer suits for unauthorized text messages was litigated by the


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predecessor firm to Edelson LLC, and subsequent reported opinions in federal courts in

California, Illinois, and other federal districts around the country have also been secured by the

attorneys at Edelson LLC. Edelson LLC and its predecessors have litigated and settled several

substantial text message class actions under the TCPA, including: Weinstein v. The Timberland;

Co., et al. (N.D. Ill. 2008); Satterfield v. Simon & Schuster (N.D. Cal. 2010); Lozano v.

Twentieth Century Fox (N.D. Ill. 2011); Kramer v. Autobytel (N.D. Cal. 2011); and Rojas v.

Career Education Corporation (N.D. Ill. 2012).

       5.      A true and accurate copy of the Edelson LLC Firm Resume is attached hereto as

Exhibit 1-A.

       6.      At the time of filing this case, I was aware that my firm would spend hundreds, if

not thousands, of hours on attorney time in contested litigation with no guarantee of success.

       7.      Defendant Red Bull North America, Inc. (“Red Bull”) retained the law firm of

Kirkland & Ellis LLP, a national law firm, to represent them in this case.

       8.      Over the past year, members of my firm have spent over 877 hours representing

the Plaintiff and the Settlement Class without any compensation. Performing work on this case

required my firm to forgo other potential matters and employment.

       9.      Following their Rule 26(f) conference, the Parties exchanged initial disclosures,

and Plaintiff propounded discovery on Defendant and other third parties. It was at this juncture

that the Parties agreed to attempt to resolve this litigation through private mediation. In the

weeks leading up to mediation, the Parties informally exchanged certain documents and other

information that would be needed to effectively engage in the mediation process.

       10.     On November 6-7, 2012, the Parties met for a formal mediation with former

District Judge Wayne Andersen. After two days of mediation, additional exchanges of




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information, and several rounds of arm’s-length negotiations—all with the assistance of Judge

Andersen—the Parties made a great deal of progress toward a classwide settlement, but were still

unable to come to terms. Certain issues remained unresolved, and while the Parties agreed to

continue talking, they did not commit to any further mediation sessions.

       11.     After several additional rounds of negotiations (all at arm’s-length and presided

over by Judge Andersen) that took place over the course of the next two months, the Parties

agreed to another in-person mediation session, which took place on January 10, 2013. Although

the Parties were able to agree on the principal terms of class relief at that time, they reached an

impasse on remaining issues.

       12.     Judge Andersen convened another mediation session on February 25, 2013. With

Judge Andersen’s assistance, the Parties were able to resolve all remaining issues. Notably,

however, the Parties did not agree—much less even discuss— any amount of attorneys’ fees

payable to Class Counsel. Rather, Class Counsel—determined to not delay the relief to the Class

with continued negotiations over attorneys’ fees— agreed to simply file a fee petition with the

Court and committed to not seek more than $2,000,000 in attorneys’ fees and costs.

       13.     On June 13, 2013—the deadline to file their fee petition—and again with Judge

Andersen’s assistance through separate telephone conferences, the Parties finally came to an

agreement on attorneys’ fees and costs in the amount of $1,275,000.00, subject to Court

approval.

       14.     Class Counsel’s requested fee award represents only 21% of the $6,000,000 made

available to fund the Settlement.

       15.     Awarding fees based on a percentage of the overall fund made available to the

Class is supported by Plaintiff’s retainer agreement with Class Counsel, as well as fee awards in




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similar class actions within this District. A true and accurate copy of Plaintiff Miller’s executed

retention letter with Edelson LLC is attached hereto as Exhibit 1-B.

       16.      By taking this case on a contingency basis and not being paid by the hour, my

firm had an incentive to conduct our efforts efficiently. So too, being responsible for advancing

all expenses, we had an incentive not to expend funds unnecessarily.

       17.      The retainer agreement between Class Counsel and Plaintiff contains a

contingency fee arrangement whereby Plaintiff previously agreed that a “fair award of attorneys’

fees from a fund recovered for the class would be one-third of the total recovery plus

reimbursement of all costs.” (See Ex. B.)

       18.      I believe that my firm assumed a significant risk of non-payment in initiating and

prosecuting this case given the novelty of the legal issues involved and the vigorous defense that

Defendant and its highly skilled counsel were prepared to mount should the litigation have

proceeded on.

       19.      Class Counsel was also threatened with the possibility that Red Bull would

ultimately prevail on its “direct relationship” argument—i.e., that each Class Member consented

to receive future text messages when they voluntarily provided Red Bull with their cell phone

numbers. Further, Class Counsel’s fronting of attorney time and the costs of litigation in this case

on a fully contingent basis was especially risky because the issue of whether the TCPA applies to

text messages has yet to be presented to the Seventh Circuit. Equally untested is whether the

type of equipment used to transmit en masse text messages falls within the TCPA’s statutory

definition of “automatic telephone dialing system.”

       20.      As is the general practice of most law firms, each of the attorneys and law clerks

at Edelson LLC are responsible for keeping track of their billable time. The majority of these




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records are centralized in a billing management software program, to which all employees have

access, known as “Freshbooks.”

       21.     The attorney rates listed are the same as those Class Counsel charges to their

hourly clients, and are comparable to (or less than) those charged by attorneys in Chicago with

similar background or experience. Moreover, these rates have been approved as reasonable by

several judges in this District, as well as in other federal courts throughout the country, in both

TCPA cases and other class action litigation.

       22.     The rates charged for our attorneys are the same rates we use for hourly clients,

which comprise a material part of the firm’s revenues. The hours, rates, and experience of the

particular attorneys from my firm involved in this matter are provided in the chart below:

          ATTORNEY               YEARS OF          HOURS              RATE            TOTAL
           (Position)           PRACTICE
 Jay Edelson                    16              114.7            $675.00          $77,422.50
 (Managing Partner)
 Rafey S. Balabanian            7               96.1             $550.00          $52,855.00
 (Partner)
 Ari J. Scharg                  4               308.5            $425.00          $131,112.50
 (Associate)
 Eve-Lynn Rapp                  3               80.8             $390.00          $31,512.00
 (Associate)
 Megan Lindsey                  1               57.1             $335.00          $19,128.50
 (Associate)
 Amir Missaghi                  N/A             220.0            $215.00          $47,300.00
 (Incoming Associate)
 Estimated Time Remaining                                                         $80,000.00
 TOTAL                                                                            $439,330.50

       23.     Based on my experience, I anticipate that approximately 200 hours equaling about

$80,000.00 of additional attorney and non-attorney time will be required through final approval

and administration of the settlement, should it be approved by the Court. The attorneys handling

this matter must still draft a final approval motion, prepare and attend the final fairness hearing,

contend with any potential objectors, continue to communicate with Class Members, and handle

various issues related to claims administration.


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       24.     In addition to this amount, Edelson LLC has also incurred $16,480.02 in

unreimbursed costs and expenses, which includes costs related to the initial filing, discovery,

subpoena production, mediation, transportation, and large copying jobs. A true and accurate

copy of my firm’s expense records are attached as Exhibit 1-C. My firm does not typically

charge for such things as Westlaw or LexisNexis research, which we adhered to in this case.

       25.     Until the settlement was reached, there was no pre-existing agreement or

discussion concerning an award or the potential for an award in exchange for the Class

Representative’s involvement in the case.

       26.     Nonetheless, Ms. Miller contributed her own time and effort in pursuing both her

individual claim as well as the class claims, exhibiting a willingness to participate and undertake

the responsibilities and risks attendant with bringing a representative action. Early in the case,

Ms. Miller even relinquished control of her personal cell phone (which received the text

messages at issue) so that Class Counsel could create a mirror image of its hard drive and

preserve relevant evidence.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on June 13, 2013, at Chicago, Illinois,




                                       Jay Edelson




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                                 Exhibit F
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                 IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

THI MILLER, individually and on behalf of
all others similarly situated,

               Plaintiff,                        Case No. 12-cv-04961

v.

RED BULL NORTH AMERICA, INC., a                  Hon. Judge St. Eve
California corporation,

               Defendant.



                                FINAL JUDGMENT ORDER

       WHEREAS, a class action is pending before the Court entitled Miller v. Red Bull North

America, Inc., Case No. 12-cv-04961;

       WHEREAS, Plaintiff and Defendant have entered into a Settlement Agreement dated

March 11, 2013, which, together with the exhibits attached thereto, sets forth the terms and

conditions for a proposed settlement and dismissal of the Action with prejudice as to Defendant

upon the terms and conditions set forth therein (the “Settlement Agreement”);

       WHEREAS, on March 14, 2013, this Court preliminarily approved the Settlement

Agreement and certified, for settlement purposes, the Settlement Class consisting of:

       All persons in the United States and its territories who received one or more
       unauthorized text messages from or on behalf of the Defendant as a result of a
       Non-Compliant Campaign. Excluded from the Settlement Class are (1) any
       Persons that have previously provided consent in response to a Compliant
       Campaign; (2) any Judge or Magistrate presiding over this action and members of
       their families; (3) the Defendant, the Defendant’s subsidiaries, parent companies,
       successors, predecessors, and any entity in which the Defendant or its parents
       have a controlling interest and their current or former officers, directors, and
       employees; (4) any third-party vendor that sent text messages on behalf of the
       Defendant, and its subsidiaries, parent companies, successors, predecessors, and
       their current or former officers, directors, and employees; (5) persons who
       properly execute and file a timely request for exclusion from the class; (6) all
       Persons whose claims against the Defendant have been fully and finally
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       adjudicated and/or released; and (7) the legal representatives, successors or
       assigns of any such excluded persons;

       WHEREAS, pending before the Court are Plaintiff’s Motion for Final Approval of Class

Action Settlement (Dkt. 56) and Plaintiff’s Corrected Motion for Award of Attorneys’ Fees,

Expenses and Incentive Award (Dkt. 53) (collectively, the “Motions”); and

       WHEREAS, the Court, having read and considered the Motions and the Settlement

Agreement, and having heard the parties and being fully advised in the premises, hereby

GRANTS final approval of the Settlement Agreement in its entirety.

IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

       1.      Terms and phrases in this Order shall have the same meaning as ascribed to them

in the Settlement Agreement.

       2.      This Court has jurisdiction over the subject matter of the Action and over all

Parties to the Action, including all Settlement Class members.

       3.      The Court finds that the Settlement Agreement is fair, reasonable, adequate, and

in the best interests of the Settlement Class. The Court further finds that the Settlement

Agreement substantially fulfills the purposes and objectives of the class action, and provides

substantial relief to the class without the risks, burdens, costs, or delay associated with continued

litigation, trial, and/or appeal. The Court also finds that the Settlement Agreement: (a) is the

result of arms’ length negotiations between experienced attorneys assisted by the Hon. Wayne R.

Andersen (ret.) of JAMS; (b) meets all applicable requirements of law, including Federal Rule of

Civil Procedure 23, and the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715; and (c) is

not a finding or admission of liability, damages or any other issues for purposes of litigation, by

the Defendant or any other parties.




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       4.      The Court finds that the Notice and the Notice Plan implemented pursuant to the

Settlement Agreement and the Court’s Preliminary Approval Order, consisting of individual

notice via first-class U.S. Mail postcard and email, internet publication on the interactive

Settlement Website, publication in People and Game Informer magazines, CAFA notice to the

Attorneys General of each state, as well as the Attorney General of the United States, and a toll-

free phone number to field inquires by Settlement Class Members, has been successfully

implemented and was the best notice practicable under the circumstances and: (1) constituted

notice that was reasonably calculated, under the circumstances, to apprise the Settlement Class

Members of the pendency of the Action, their right to object to or to exclude themselves from the

Settlement Agreement, and their right to appear at the Final Approval Hearing; (2) was

reasonable and constituted due, adequate, and sufficient notice to all persons entitled to receive

notice; and (3) met all applicable requirements of the Federal Rules of Civil Procedure, the Due

Process Clause, and the rules of the Court.

       5.      The following preliminary appointments are hereby confirmed: (a) Jay Edelson

and Rafey S. Balabanian of Edelson LLC as Class Counsel for the Settlement Class; and (b) Thi

Miller as Class Representative.

       6.      The following Settlement Class is hereby finally certified, solely for purposes of

this settlement, pursuant to Federal Rule of Civil Procedure 23(b)(3):

       All persons in the United States and its territories who received one or more
       unauthorized text messages from or on behalf of the Defendant as a result of a
       Non-Compliant Campaign. Excluded from the Settlement Class are (1) any
       Persons that have previously provided consent in response to a Compliant
       Campaign; (2) any Judge or Magistrate presiding over this action and members of
       their families; (3) the Defendant, the Defendant’s subsidiaries, parent companies,
       successors, predecessors, and any entity in which the Defendant or its parents
       have a controlling interest and their current or former officers, directors, and
       employees; (4) any third-party vendor that sent text messages on behalf of the
       Defendant, and its subsidiaries, parent companies, successors, predecessors, and



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       their current or former officers, directors, and employees; (5) persons who
       properly execute and file a timely request for exclusion from the class; (6) all
       Persons whose claims against the Defendant have been fully and finally
       adjudicated and/or released; and (7) the legal representatives, successors or
       assigns of any such excluded persons.

       7.      The Court finds that the Settlement Agreement is fundamentally fair, adequate,

and reasonable, and, solely within the context of and for the purposes of settlement only, that the

Class satisfies the requirements of Rule 23 of the Federal Rules of Civil Procedure, specifically,

that: the Class of approximately 86,000 persons is so numerous that joinder of all members is

impracticable; there are common questions of law (i.e., whether Defendant violated the

Telephone Consumer Protection Act, 47 U.S.C. § 227, by sending the Text Messages in

question, and whether the Class members are entitled to statutory damages as a result of

Defendant’s alleged conduct) and fact (i.e., whether Defendant sent the Text Messages in

question using equipment that had the capacity to store or produce telephone numbers to be

called using a random or sequential number generator, and whether Defendant obtained the Class

members’ prior express consent to send the Text Messages); the claims of the Class

Representative are typical of the claims of the Class members; the Class Representative has

fairly and adequately protected the interests of the Class; common questions of law and fact

predominate over questions affecting individual members; and a class action is a superior

method for fairly and efficiently adjudicating this Action.

       8.      The Action is hereby dismissed with prejudice and without costs. This dismissal

shall not allow the Parties or any members of the Settlement Class to litigate or otherwise reopen

issues resolved by this judgment, or included within the Released Claims, but allows the Court to

supervise the implementation and administration of the settlement. This judgment has been

entered without any admission by the Defendant or any other parties concerning liability,

damages, or any other issues for purposes of litigation, including as to the merits of any of the


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allegations in the Complaint.

       9.      The Parties are directed to pay Valid Approved Claims to the Settlement Class in

accordance with the Settlement Agreement.

       10.     The Releasing Parties release and forever discharge the Released Parties from the

Released Claims as provided in the Settlement Agreement.

               A.     As used in this Order and in the Settlement Agreement, the “Releasing

       Parties” means Plaintiff as well as all Settlement Class Members (whether or not such a

       Person submits a Claim Form), except for those who properly execute and file a timely

       request for exclusion from the Settlement Class. To the extent the Settlement Class

       Member is not an individual, “Releasing Parties” includes all of the Settlement Class

       Member’s present, former, and future direct and indirect parent companies, affiliates,

       subsidiaries, divisions, agents, franchisees, successors, predecessors-in-interest, and all of

       the aforementioned’s present, former, and future officers, directors, employees,

       shareholders, attorneys, agents, independent contractors; and, to the extent the Settlement

       Class Member is an individual, “Releasing Parties” includes all of the Settlement Class

       Member’s present, former, and future spouses, as well as the present, former, and future

       heirs, executors, administrators, representatives, agents, attorneys, partners, successors,

       predecessors-in-interest, and assigns of each of them.

               B.     As used in this Order and in the Settlement Agreement, the “Released

       Parties” means Defendant Red Bull North America, Inc. and any and all of its present or

       past heirs, executors, estates, administrators, predecessors, successors, assigns, parents,

       subsidiaries, associates, employers, consultants, independent contractors, insurers,

       directors, managing directors, officers, partners, principals, members, attorneys,




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      accountants, financial and other advisors, investment bankers, underwriters, shareholders,

      lenders, auditors, investment advisors, legal representatives, successors in interest, and

      other assigns; as well as all Persons, firms, trusts, corporations, officers, directors, or

      other individuals or entities in which the Defendant has a controlling interest or which are

      affiliated with any of them; as well as any employees, agents or other representatives of

      any of the foregoing.

             C.      As used in this Order and in the Settlement Agreement, the “Released

      Claims” shall mean any and all actual, potential, filed, known or unknown, fixed or

      contingent, claimed or unclaimed, suspected or unsuspected, claims, demands, liabilities,

      rights, causes of action, contracts or agreements, extracontractual claims, damages,

      punitive, exemplary or multiplied damages, expenses, costs, attorneys’ fees and or

      obligations (including “Unknown Claims” as defined below), whether in law or in equity,

      accrued or unaccrued, direct, individual or representative, of every nature and description

      whatsoever, whether based on the TCPA or other federal, state, local, statutory or

      common law, any other law, rule or regulation, including the law of any jurisdiction

      outside the United States, or any other legal or equitable theory or cause of action, against

      the Released Parties, or any of them, arising out of or relating to the facts, transactions,

      events, matters, occurrences, acts, disclosures, statements, misrepresentations, omissions

      or failures to act relating to unauthorized Text Messages as a result of a Non-Compliant

      Campaign, or that were or could have been alleged or asserted in the Action relating to

      unauthorized Text Messages as a result of a Non-Compliant Campaign—including

      Released Claims belonging to any and all Plaintiffs and their respective present or past

      heirs, executors, estates, administrators, predecessors, successors, assigns, parents,



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       subsidiaries,   associates,   affiliates,    employers,   employees,   agents,   consultants,

       independent contractors, insurers, directors, managing directors, officers, partners,

       principals, members, attorneys, accountants, financial and other advisors, investment

       bankers, underwriters, lenders, and any other representatives of any of these Persons and

       entities. Nothing herein is intended to release any claims any governmental agency or

       governmental actor has against the Defendant.

       11.     The release in Paragraph 10 includes the release of all Unknown Claims. As used

in this Order and in the Settlement Agreement, “Unknown Claims” means claims that could have

been raised in this litigation and that the Plaintiffs or any or all other Persons and entities whose

claims are being released, or any of them, do not know or suspect to exist, which, if known by

him, her or it, might affect his, her or its agreement to release the Released Parties or the

Released Claims or might affect his, her or its decision to agree, object or not to object to the

Settlement. Upon the Effective Date, Plaintiffs and all other Persons and entities whose claims

are being released shall be deemed to have, and shall have, expressly waived and relinquished, to

the fullest extent permitted by law, the provisions, rights and benefits of § 1542 of the California

Civil Code, which provides as follows:

       “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH
       THE CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS
       OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE,
       WHICH IF KNOWN BY HIM OR HER MUST HAVE MATERIALLY
       AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.”

Upon the Effective Date, Plaintiffs and all other Persons and entities whose claims are being

released shall be deemed to have, and shall have, waived any and all provisions, rights and

benefits conferred by any law of any state, the District of Columbia or territory of the United

States, by federal law, or principle of common law, or the law of any jurisdiction outside of the

United States, which is similar, comparable or equivalent to § 1542 of the California Civil Code.


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Plaintiffs acknowledge that they may discover facts in addition to or different from those that

they now know or believe to be true with respect to the subject matter of the Release, but that it

is their intention to finally and forever to settle and release the Released Claims, notwithstanding

any Unknown Claims they may have, as that term is defined in this Paragraph.

       12.     The Court awards to Settlement Class Counsel U.S. $1,275,000, which shall

include all attorneys’ fees and reimbursement of expenses associated with the Action.

       13.     The Court awards to Plaintiffs U.S. $5,000, as an Incentive Award for her time

and effort serving as the Class Representative in this Action.

       14.     Without affecting the finality of this judgment, the Court retains exclusive

jurisdiction of this Settlement, including without limitation, issues concerning its administration

and consummation. The Court also retains exclusive jurisdiction over Defendant, Plaintiff, and

Settlement Class members regarding the Settlement Agreement and this Final Judgment Order.

Defendant, Plaintiff, and Settlement Class Members are hereby deemed to have submitted

irrevocably to the exclusive jurisdiction of this Court for any suit, action, proceeding, or dispute

arising out of or relating to the Released Claims, this Order, and the Settlement Agreement,

including but not limited to the applicability of the Released Claims, the Settlement Agreement,

or this Order. Without limiting the generality of the foregoing, any dispute concerning the

Settlement Agreement, including, but not limited to, any suit, action, arbitration, or other

proceeding by a Settlement Class Member in which the provisions of the Settlement Agreement

are asserted as a defense in whole or in part to any claim or cause of action or otherwise raised as

an objection, shall constitute a suit, action, or proceeding arising out of or relating to this Order.

Solely for purposes of such suit, action, or proceeding, to the fullest extent possible under

applicable law, the parties hereto and all Settlement Class Members are hereby deemed to have




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irrevocably waived and agreed not to assert, by way of motion, as a defense or otherwise, any

claim or objection that they are not subject to the jurisdiction of this Court, or that this Court is,

in any way, an improper venue or an inconvenient forum.

       15.     The Settlement Agreement and the proceedings and statements made pursuant to

the Settlement Agreement or papers filed relating to the Settlement Agreement, and this Order,

are not and shall not in any event be deemed, used, offered or received against the Released

Parties, or each or any of them, as an admission, concession or evidence of, the validity of any

Released Claims, the truth of any fact alleged by the Plaintiff, the deficiency of any defense that

has been or could have been asserted in the Action, the violation of any law or statute, the

reasonableness of the settlement amount or the fee award (if the Settlement does not become

final for any reason), the propriety of class certification for purposes of litigation, or of any

alleged fault, wrongdoing, liability, or responsibility for damages by the Released Parties, or any

of them—whether in this litigation or in any civil, criminal or administrative proceeding in any

court, administrative agency, or tribunal.

       16.     The certification of the Settlement Class shall be binding only with respect to the

settlement of the Action. In the event that the Settlement Agreement is terminated pursuant to its

terms or the Court’s approval of the Settlement is reversed, vacated, or modified in any material

respect by this or any other Court, the certification of the Settlement Class shall be deemed

vacated, the Action shall proceed as if the Settlement Class had never been certified (and the

Defendant shall retain the right to oppose any subsequent motion for class certification), and no

reference to or consideration of the Settlement Class, the Settlement Agreement, or any

documents, communications, or negotiations related in any way thereto shall be made for any

purpose.




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       17.     Based upon the Court’s finding that there is no just reason for delay of

enforcement or appeal of this Order notwithstanding the Court’s retention of jurisdiction to

oversee implementation and enforcement of the Settlement Agreement, the Court directs the

Clerk to enter final judgment pursuant to Federal Rule of Civil Procedure 54(b).




It is so ordered, this 12 day of August, 2013.




                                                            _______________
                                      HONORABLE AMY J. ST. EVE
                                      UNITED STATES DISTRICT JUDGE




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Case:
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                                                                                 UNITED STATES DISTRICT COURT
                                           9
                                                                              NORTHERN DISTRICT OF CALIFORNIA
For the Northern District of California




                                          10
    United States District Court




                                                                                         SAN JOSE DIVISION
                                          11
                                                   IN RE: NETFLIX PRIVACY LITIGATION                 )    Case No.: 5:11-CV-00379 EJD
                                          12                                                         )
                                                                                                     )    ORDER GRANTING FINAL
                                          13                                                         )    APPROVAL OF CLASS ACTION
                                                                                                     )    SETTLEMENT; APPROVAL OF
                                          14                                                         )    CY PRES AWARDS; AWARD OF
                                                                                                     )    ATTORNEYS’ FEES AND
                                          15                                                         )    EXPENSES AND INCENTIVE
                                                                                                     )    AWARD
                                          16                                                         )
                                                                                                     )
                                          17                                                         )    [Re: Docket No. 191]
                                          18
                                                          The instant case is a putative class action suit brought by former Netflix subscribers Jeff
                                          19
                                                   Milans and Peter Comstock (collectively “Plaintiffs”) against Defendant Netflix, Inc. (“Netflix”).
                                          20
                                                   Presently before the Court is the Motion for Final Approval of Class Action Settlement and Award
                                          21
                                                   of Attorneys’ Fees (“Final Approval Motion”). See Docket Item No. 191. Having reviewed the
                                          22
                                                   Settlement Agreement and the parties’ and objectors’ arguments and papers, the Court has
                                          23
                                                   determined that the present Motion will be GRANTED for the reasons set forth below.
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                                          28       Case No.: 5:11-CV-00379 EJD
                                                   ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT; APPROVAL
                                                   OF CY PRES AWARDS; AWARD OF ATTORNEYS’ FEES AND EXPENSES AND
                                                   INCENTIVE AWARD
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                                           1       I.     Background

                                           2              On January 26, 2011, Plaintiff Milans initiated this class action, claiming that Netflix

                                           3       unlawfully retained and disclosed his Entertainment Content Viewing History and other personally

                                           4       identifiable information (“PII”) located on Netflix’s website and that of thousands of other Netflix

                                           5       customers. See Docket Item No. 1. Among other claims, Milans alleged violations of the Video

                                           6       Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710. Id. A wave of similar suits followed, and on

                                           7       August 12, 2011, the Court consolidated six cases, granted Plaintiffs leave to file an Amended and

                                           8       Consolidated Class Complaint, and appointed Jay Edelson of Edelson McGuire, LLC as interim

                                           9       lead Class Counsel. See Docket Item No. 59.
For the Northern District of California




                                          10              After a mediation overseen by retired United States District Court Judge Layn R. Phillips,
    United States District Court




                                          11       the parties reached a settlement agreement (“Settlement Agreement”). The parties notified the
                                          12       Court of settlement on February 10, 2012. See Docket Item No. 10. The full Settlement Agreement
                                          13       is attached as Exhibit A to Plaintiff’s Final Approval Motion. See Docket Item No. 191 Ex. A. The
                                          14       Court will summarize the key terms of the Settlement Agreement for the purposes of the present
                                          15       Final Approval Motion:
                                          16              •   Class Definition. The class was defined as follows: “[A]ll Subscribers as of the date of
                                          17                  entry of Preliminary Approval. Excluded from the Settlement Class are the following:
                                          18                  (i) the Settlement Administrator, (ii) the Mediator, (iii) any respective parent,
                                          19                  subsidiary, affiliate or control person of the Defendant or its officers, directors, agents,
                                          20                  servants, or employees as of the date of filing of the Action, (iv) any judge presiding

                                          21                  over the Action and the immediate family members of any such person(s), (v) persons

                                          22                  who execute and submit a timely request for exclusion, and (vi) all persons who have

                                          23                  had their claims against Defendant fully and finally adjudicated or otherwise released.”

                                          24                  Settlement Agreement § 1.38. The size of the class amounts to approximately 62

                                          25                  million individuals.

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                                           1             •   Injunctive Relief. The Settlement Agreement requires Netflix to decouple Entertainment

                                           2                 Content Viewing Histories from customers’ identification and payment methods within

                                           3                 one year of the Effective Date of Settlement. Id. § 2.1.

                                           4             •   Settlement Fund. Netflix has agreed to pay a total amount of $9,000,000.00 into a

                                           5                 Settlement Fund. Id. § 2.3. The Fund will be used for payment of Settlement

                                           6                 Administration Expenses, a fee award to Class Counsel, and incentive award to the

                                           7                 Class Representatives and Named Plaintiffs. Id. § 2.3. The balance of the Fund will be

                                           8                 distributed to cy pres recipients. Id.

                                           9             •   Settlement Administration Expenses. Plaintiffs have calculated these costs to be
For the Northern District of California




                                          10                 $114,570.58 with additional expected costs of $35,000.00. See Final Approval Motion
    United States District Court




                                          11                 at 24.
                                          12             •   Fee Award to Class Counsel. Netflix has agreed to pay Class Counsel a fee award of up
                                          13                 to 25% of the amount of Settlement Fund—$2,250,000.00—plus reimbursement of up
                                          14                 to $25,000.00 of costs and expenses. Id. at 24.
                                          15             •   Incentive Award to Class Representatives. Netflix has agreed to pay Class
                                          16                 Representatives Milans and Comstock as well as the named-plaintiffs in the Related
                                          17                 Actions, a collective incentive award in the amount of $30,000.00. See Settlement
                                          18                 Agreement § 9.2.
                                          19             •   Cy Pres Distribution. The parties have agreed to distribute the balance of the Settlement
                                          20                 Fund to not-for-profit organizations, institutions, and programs for the purpose of

                                          21                 educating “users, regulators, and enterprises regarding issues relating to protection of

                                          22                 privacy, identity, and personal information through user control, and to protect users

                                          23                 from online threats.” Id. § 2.4.1. The parties have selected twenty such organizations

                                          24                 which will “spend the funds solely on privacy protection and education efforts.” Final

                                          25                 Approval Motion at 23. A list of the twenty proposed cy pres recipients and explanation

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                                           1                  of how they intend to use the funds is provided in the Final Approval Motion as well as

                                           2                  posted on the litigation website (www.videoprivacyclass.com). The precise

                                           3                  disbursement from the Settlement Fund to each of these organizations was filed with the

                                           4                  Court. See Notice of Proposed Cy Pres Award Recipients, Docket Item No. 193.

                                           5              •   Release of Claims. In exchange for the relief explained above, the Settlement

                                           6                  Agreement provides that Netflix and each of its related affiliates and entities will be

                                           7                  released from any claims arising out of, relating to, or regarding the alleged retention

                                           8                  and disclosure of Plaintiffs’ and the Settlement Class’s personally identifiable

                                           9                  information, Video Rental History, and other information, including but not limited to
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                                          10                  all claims that were brought, alleged, argued, raised, or asserted in any pleading or court
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                                          11                  filing in the Action. See Settlement Agreement §§ 1.31, 1.32, 1.33, 1.42, 3.

                                          12              Plaintiffs moved the Court to preliminarily approve the settlement on May 25, 2012. See
                                          13       Docket Item No. 76. The Court granted this motion on July 5, 2012. See Am. Order Grant’g Mot.
                                          14       for Prelim. Approval of Class Action Settlement (“Preliminary Approval Order”), Docket Item No.
                                          15       80. Pursuant to the Preliminary Approval Order, Class Notice, including notice of the hearing on
                                          16       the final approval of the class action settlement, was sent to the Class. The Court received over 100
                                          17       Objections to the settlement.
                                          18              A hearing on the final approval of the settlement was held on December 5, 2012 where the
                                          19       Court heard arguments of counsel as well as that of individual class member objectors. See Minute
                                          20       Entry, Docket Item No. 233. Plaintiffs filed the present Final Approval Motion on October 31,

                                          21       2012. See Docket Item No. 191. In addition, Plaintiffs and Defendant each filed responses

                                          22       addressing the procedural and substantive issues raised by the objections. See Pls.’ Reply Memo. in

                                          23       Supp. of Final Approval Mot., Docket Item No. 226; Def.’s Response to Objections to Class

                                          24       Action Settlement, Docket Item No. 225.

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                                           1       II.    Legal Standard

                                           2              A class action may not be settled without court approval. Fed. R. Civ. P. 23(e). “If the

                                           3       proposal would bind class members, the court may approve it only after a hearing and on finding

                                           4       that it is fair, reasonable, and adequate.” Id. When the parties to a putative class action reach a

                                           5       settlement agreement prior to class certification, “courts must peruse the proposed compromise to

                                           6       ratify both the propriety of the certification and the fairness of the settlement.” Staton v. Boeing

                                           7       Co., 327 F.3d 938, 952 (9th Cir. 2003). “[J]udges have the responsibility of ensuring fairness to all

                                           8       members of the class presented for certification.” Id.

                                           9              The law favors the compromise and settlement of class action suits. See, e.g., Churchill
For the Northern District of California




                                          10       Village, LLC. v. Gen. Elec., 361 F.3d 566, 576 (9th Cir. 2004); Class Plaintiffs v. City of Seattle,
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                                          11       955 F.2d 1268, 1276 (9th Cir. 1992); Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615,
                                          12       625 (9th Cir. 1982). “[T]he decision to approve or reject a settlement is committed to the sound
                                          13       discretion of the trial judge because he is exposed to the litigants and their strategies, positions, and
                                          14       proof.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1026 (9th Cir. 1998).
                                          15              First, the district court must assess whether a class exists under Federal Rule of Civil
                                          16       Procedure 23(a) and (b). “Such attention is of vital importance, for a court asked to certify a
                                          17       settlement class will lack the opportunity, present when a case is litigated, to adjust the class,
                                          18       informed by the proceedings as they unfold.” Amchem Prods. Inc. v. Windsor, 521 U.S. 591, 620
                                          19       (1997). Second, the district court must carefully consider “whether a proposed settlement is
                                          20       fundamentally fair, adequate, and reasonable,” pursuant to Federal Rule of Civil Procedure 23(e);

                                          21       recognizing that “[i]t is the settlement taken as a whole, rather than the individual component parts,

                                          22       that must be examined for overall fairness.” Hanlon, 150 F.3d at 1026 (citations omitted).

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                                           1       III.   The Settlement Agreement

                                           2              The Court reasserts its conclusion in the Preliminary Approval Order that the Settlement

                                           3       Agreement “appears fair, non-collusive and within range of possible final approval” and “was a

                                           4       product of arm’s length negotiation before a mediator and does not appear to benefit those who

                                           5       participated in the mediation at the expense of any other parties.” Preliminary Approval Order at 4.

                                           6       The Court also iterates the following: “In light of the minimal monetary recovery that would be

                                           7       realistically recoverable by individual Settlement Class members and the immediate benefits

                                           8       offered to the Class by the injunctive relief and cy pres donations, the Settlement Agreement is

                                           9       deserving of preliminary approval.” Id.
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                                          11              A. Class Certification
                                          12              In accordance with first step for approving a class action settlement agreement, see
                                          13       Windsor, 521 U.S. at 620, the Court notes that class certification is appropriate for this litigation
                                          14       under Federal Rule of Civil Procedure 23. Because the Objections do not appear to raise a viable
                                          15       challenge to that conclusion, the Court will rely on the rationale for class certification as explained
                                          16       in the Preliminary Approval Order. See Preliminary Approval Order at 4–6.
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                                          18              B. Reasonableness of the Settlement Agreement
                                          19              The Court now turns to the question of whether the Settlement Agreement is “fair,
                                          20       adequate, and reasonable” as prescribed under Federal Rule of Civil Procedure 23(e). In answering

                                          21       this question, district courts have been instructed to balance several factors: (1) the strength of the

                                          22       plaintiffs’ case; (2) the risk, expense, complexity, and likely duration of further litigation; (3) the

                                          23       risk of maintaining class action status throughout the trial; (4) the amount offered in settlement; (5)

                                          24       the extent of discovery completed and the stage of the proceedings; (6) the experience and views of

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                                           1       counsel; (7) the presence of a governmental participant; and (8) the reaction of the class members

                                           2       to the proposed settlement. Hanlon, 150 F.3d at 1026; Churchill, 361 F.3d at 575.

                                           3              Courts have afforded a presumption of fairness and reasonableness of a settlement

                                           4       agreement where that agreement was the product of non-collusive, arms’ length negotiations

                                           5       conducted by capable and experienced counsel. See, e.g., Garner v. State Farm Mut. Auto. Ins. Co.,

                                           6       No. 08-CV-1365-CW, 2010 WL 1687832, at *13 (N.D. Cal. Apr. 22, 2010). Because this Court

                                           7       has concluded that the settlement negotiations were conducted free of collusion, see Preliminary

                                           8       Approval Order at 4, and the Objections do not raise a viable challenge to this notion, the Court

                                           9       will evaluate each of eight Hanlon approval factors under the presumption of fairness and
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                                          10       reasonableness.
    United States District Court




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                                          12                      1. Strength of Plaintiff’s Case
                                          13              In determining the probability and likelihood of a plaintiff’s success on the merits of a class
                                          14       action litigation, “the district court’s determination is nothing more than an amalgam of delicate
                                          15       balancing, gross approximations and rough justice.” Officers for Justice, 688 F.2d at 625 (internal
                                          16       quotation marks omitted). There is no “particular formula by which that outcome must be tested.”
                                          17       Rodriguez v. West Publ’g Corp., 563 F.3d 948, 965 (9th Cir. 2009). The court may “presume that
                                          18       through negotiation, the Parties, counsel, and mediator arrived at a reasonable range of settlement
                                          19       by considering Plaintiff's likelihood of recovery.” Garner, No. 08-CV-1365-CW, 2010 WL
                                          20       1687832, at *9 (citing Rodriguez v. West, 563 F.3d at 965).

                                          21              Plaintiffs have suggested that they intended to bring two theories in support of their VPPA

                                          22       violation claims which underlie the class action. The first of these theories is that Netflix had

                                          23       unlawfully disclosed customers’ PII by providing that information to third-party analytics

                                          24       companies working to improve Netflix’s recommendation algorithm or for other purposes.

                                          25       However, after the commencement of formal and informal discovery, Plaintiffs determined that

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                                           1       Netflix had not been disclosing Netflix customers’ PII to third parties. In addition, Plaintiffs

                                           2       concluded that the third-party services theory would be unlikely to succeed given the broad

                                           3       interpretation of the VPPA’s “ordinary course of business” exception courts in this district have

                                           4       been employing. See, e.g., Rodriguez v. Sony Computer Entm’t of Am. LLC, No. 11-CV-4084-

                                           5       PJH (N.D. Cal. Apr. 20, 2012) (granting defendant’s motion to dismiss plaintiff’s unlawful

                                           6       disclosure VPPA claim for this reason). With that, and other possible defenses Netflix might have

                                           7       raised—such as lack of Article III standing—Class Counsel has estimated that the “unlawful

                                           8       disclosure” claims would have a 5% chance of success on the merits.

                                           9              The second of Plaintiffs’ theories of the case was that Netflix had been unlawfully retaining
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                                          10       customers’ PII in violation of the VPPA. One particularly potent defense Netflix could bring in
    United States District Court




                                          11       response to this theory is that numerous courts have found that Congress only intended for litigants

                                          12       suing under the VPPA to receive injunctive relief and not monetary damages. See, e.g., Rodriguez

                                          13       v. Sony Computer Entm’t of Am. LLC, No. 11-CV-4084-PJH, 2012 WL 4464563 (N.D. Cal. Sept.
                                          14       25, 2012) (dismissing with prejudice plaintiff’s unlawful retention VPPA claims for this reason);
                                          15       Sterk v. Redbox Automated Retail, LLC, 672. F.3d 535 (7th Cir. 2012) (finding no private right of
                                          16       action for statutory damages for a violation of 18 U.S.C. § 2710(e), VPPA’s unlawful retention
                                          17       prong); Daniel v. Cantrell, 375 F.3d 377 (6th Cir. 2004) (same). While this defense might have
                                          18       prevented a monetary damage award under the VPPA, Class Counsel still intended to bring suit
                                          19       under the “unlawful” prong of California’s Unfair Competition Law, Cal. Bus. & Prof. Code
                                          20       § 17200, which could have provided for monetary damages. Taking into consideration other

                                          21       potential defenses—such as, again, lack of Article III standing—Class Counsel estimated a 55%

                                          22       change of succeeding on the merits under the “unlawful retention” theory.

                                          23              Class Counsel has placed a net value of the case at $6,398,667 plus fees. See Final

                                          24       Approval Motion § III (outlining in detail the arrival at this figure). The calculation first estimates

                                          25       the amount of recovery in the event of success on the merits after surmounting all procedural and

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                                           1       substantive obstacles of litigation as well as takes into account various costs and fees. The

                                           2       calculation then takes into account the time value of money at the appropriate discount rate. The

                                           3       Court has concluded that this figure, derived in the course of the settlement negotiations, is

                                           4       reasonable for the purposes of this factor of settlement approval. Because this figure is lower than

                                           5       the Settlement Fund disbursement (even after the deduction of attorneys’ awards and fees,

                                           6       incentive awards, and other costs)—not to mention the value of the injunctive relief—this factor

                                           7       weighs strongly in favor of approval.

                                           8

                                           9                      2. Risk of Continuing Litigation
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                                          10              Proceeding in this litigation in the absence of settlement poses various risks such as
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                                          11       dismissal upon a dispositive motion, potentially potent defenses, increased costs and fees, and
                                          12       expiration of a substantial amount of time. Such considerations have been found to weigh heavily
                                          13       in favor of settlement. See Rodriguez v. West, 563 F.3d at 966; Curtis-Bauer v. Morgan Stanley &
                                          14       Co., Inc., No. 06-C-3903 TEH, 2008 WL 4667090, at *4 (N.D. Cal. Oct. 22, 2008) (“Settlement
                                          15       avoids the complexity, delay, risk and expense of continuing with the litigation and will produce a
                                          16       prompt, certain, and substantial recovery for the Plaintiff class.”). This is especially true here after
                                          17       taking into consideration the potential pitfalls of Plaintiffs’ case, massive size of the Class, and
                                          18       substantial costs that would have to be incurred in order to disburse any de minimis monetary
                                          19       payments to Class members in the event of a litigation victory. As such, this factor weighs in favor
                                          20       of approval.

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                                          22                      3. Risk of Maintaining Class Action Status

                                          23              The notion that a district court could decertify a class at any time, Gen. Tel. Co. of Sw. v.

                                          24       Falcon, 457 U.S. 147, 160 (1982), is one that weighs in favor of settlement. Rodriguez v. West,

                                          25       563 F.3d at 966. While this Court certified the Class in the Preliminary Approval Order—and is

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                                           1       reaffirming that certification in this Order—this certification was for settlement purposes only. In

                                           2       the absence of settlement, Netflix would likely vigorously oppose class certification and challenge

                                           3       it before or during trial as well as on appeal. As such, the risk of losing class status in the absence

                                           4       of settlement weighs in favor of approval.

                                           5

                                           6                      4. Amount Offered in Settlement

                                           7              The amount offered to the Settlement Fund for distribution totals $9,000,000.00 plus the

                                           8       agreed-upon injunctive relief that seeks to undo and prevent the harm Plaintiffs have sought to

                                           9       vindicate in bringing this class action suit. Class Counsel has valued the injunctive relief at
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                                          10       approximately $4,650,000.00. See Final Approval Motion at 19, 32 (explaining the arrival at this
    United States District Court




                                          11       figure). As noted, the value of the Settlement Agreement exceeds Class Counsel’s total valuation of
                                          12       the case in the absence of settlement, even after accounting for the requested fee awards.
                                          13              The method of distribution of the cash settlement is pursuant to cy pres remedy of
                                          14       distributing the funds to various institutions and organizations for the purposes of furthering
                                          15       privacy research, protections, and education efforts. A cy pres remedy is a settlement structure
                                          16       wherein class members receive an indirect benefit (usually defendant donations to a third party)
                                          17       rather than a direct monetary payment.” Lane v. Facebook, Inc., 696 F.3d 811, 819 (9th Cir. 2012).
                                          18       The cy pres doctrine “allows a court to distribute unclaimed or non-distributable portions of a class
                                          19       action settlement fund to the next best class of beneficiaries.” Nachshin v. AOL, LLC, 663 F.3d
                                          20       1034, 1036 (9th Cir. 2011) (internal quotation marks omitted). Cy Pres is employed where “proof

                                          21       of individual claims would be burdensome or distribution of damages costly.” Six Mexican

                                          22       Workers v. Ariz. Citrus Growers, 904 F.2d 1301, 1305 (9th Cir. 1990)). A cy pres distribution is

                                          23       reasonable where it “account[s] for the nature of the plaintiffs’ lawsuit, the objectives of the

                                          24       underlying statutes, and the interests of the silent class members . . . .” Nachshin, 663 F.3d at 1036.

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                                           1               In Lane v. Facebook, the Ninth Circuit affirmed the approval of a cy pres settlement

                                           2       distribution similar to the one presently before this Court. That case, brought on behalf of a class of

                                           3       millions, involved claims of violations of the VPPA and other privacy statutes based on allegations

                                           4       that defendant Facebook had been gathering and disseminating the personal information of its

                                           5       members. 696 F.3d 811. The settlement agreement included a $9.5 million cash payout to a

                                           6       settlement fund which, after subtracting attorneys’ fees and other awards and costs, would be used

                                           7       by Facebook to set up a new charity organization whose stated purpose would be to “fund and

                                           8       sponsor programs designed to educate users, regulators[,] and enterprises regarding critical issues

                                           9       relating to protection of identity and personal information online through user control, and the
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                                          10       protection of users from online threats.” Id. at 817. The Ninth Circuit concluded that this settlement
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                                          11       warranted approval because, in addition to the $9.5 million pay-out being a “substantial” sum for
                                          12       this type of class action, “it would be burdensome and inefficient to pay the $6.5 million in cy pres
                                          13       funds that remain after costs directly to the class because each class member’s recovery under a
                                          14       direct distribution would be de minimis.” Id. at 824–25 (internal quotation marks omitted). The
                                          15       Lane court also noted that the injunctive relief provided for under the settlement—which would
                                          16       terminate the complained-of activity—would provide reasonable and fair relief when coupled with
                                          17       the cy pres distribution. Id. at 825.
                                          18               In In re Google Buzz Privacy Litigation, a court in this district approved a similar
                                          19       settlement agreement in a similar privacy-related putative class action. No. 10-00672-JW, 2011
                                          20       WL 7460099 (N.D. Cal. June 2, 2011). That case, brought on behalf of a class estimated to be in

                                          21       the tens of millions, included allegations that defendant Google Inc. had disseminated the private

                                          22       and personal information of users of its Google Buzz program in violation of federal privacy-

                                          23       related and stored communications statutes. Id. The settlement agreement in that case included an

                                          24       $8.5 million payout to be distributed to third-party cy pres recipients for the purpose of furthering

                                          25       consumer privacy protection and security efforts. Id. In approving the agreement, the Google Buzz

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                                           1       court found that the cy pres distribution would “provide[] an indirect benefit to the Class Members

                                           2       consistent with the Class Members’ claims herein.” Id. at *4.

                                           3                Like in both Lane and Google Buzz, the present class action contains a very sizeable class

                                           4       amount. Given the sheer size of the Class (over 62 million Netflix members) each Class member

                                           5       would receive a de minimis payment in the event of a direct class cash payout. This amount would

                                           6       likely prove to be nullified by distribution costs. See Lane, 696 F.3d at 825. Unlike Lane, which

                                           7       essentially returned the cy pres funds back to the defendant for the purpose of having the defendant

                                           8       of set up a privacy-related organization, the present Settlement Agreement provides for distribution

                                           9       to already-existing third-party organizations. 1 See Notice of Proposed Cy Pres Award Recipients.
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                                          10       The list of the cy pres recipient organizations—which the Court notes is similar to that of the
    United States District Court




                                          11       Google Buzz cy pres distribution, see No. 10-00672-JW, 2011 WL 7460099, at *3—includes
                                          12       leading consumer and privacy advocacy groups and academic institutions. The organizations are
                                          13       located throughout the country so as to best benefit the far-reaching Class through outreach and
                                          14       education programs, litigation and public advocacy, development of privacy-protecting tools, and
                                          15       other methods.
                                          16                Accordingly, the Court finds that the settlement amount—which includes the size of the
                                          17       cash distribution, the cy pres method of distribution, and the injunctive relief—to be a factor that
                                          18       weighs in favor of approval.
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                                          22         Several judges on the Ninth Circuit have expresses disapproval of the Lane settlement, albeit in dissenting opinions.
                                                   One of the reasons these judges took issue with that settlement involves that fact that the cy pres funds were to be used
                                          23       in part by the defendant to set up an organization to educate users about issues related to privacy and protection of their
                                                   PII. See Lane v. Facebook, Inc., No. 10-16380, No. 10-16398, 2013 U.S. App. LEXIS 3935, at *4 (9th Cir. Feb. 26,
                                          24       2013), denying petition for reh’g en banc 696 F.3d 811 (9th Cir. 2012) (Smith, J., dissenting) (“The ‘charity’ is simply
                                                   a bespoke creation of this settlement.”); Lane, 696 F.3d at 832 (Kleinfeld, J., dissenting) (“Every nickel of the
                                          25       remainder of the $9,500,000 . . . goes not to the victims, but to an entity partially controlled by Facebook and class
                                                   counsel). The cy pres recipients in this case, unlike the settlement in Lane, are already-existing charitable organizations
                                          26       that provide educational as well as legal services related to online privacy issues and concerns.

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                                           1                        5. Extent of Discovery

                                           2              Before settlement, discovery was on-going. Plaintiffs have propounded, and Netflix

                                           3       responded to, formal written discovery questions including interrogatories and requests for the

                                           4       production of documents. See Final Approval Motion Ex. C, Declaration of Jay Edelson ¶¶ 64.

                                           5       Class Counsel also engaged in informal discovery with Netflix’s Vice President of Product

                                           6       Engineering and its Vice President of Marketing and Analytics. Id. These discovery efforts allowed

                                           7       Plaintiff’s counsel to accurately valuate by compiling information ranging from the extent to which

                                           8       Netflix compiled and collected PII to the number of members that might fall into the Class. Id.

                                           9       ¶¶ 62–64. While formal discovery had not been completed, Class Counsel has established that they
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                                          10       had acquired sufficient information to make an informed decision about the valuation of the case,
    United States District Court




                                          11       potential obstacles and pitfalls, and likelihood of success so to as effectively engage in settlement

                                          12       negotiations. As such, this factor weighs in favor of settlement. See In re Mego Fin. Corp. Sec.

                                          13       Litig., 213 F.3d 454, 459 (9th Cir. 2000) (“[F]ormal discovery is not a necessary ticket to the
                                          14       bargaining table where the parties have sufficient information to make an informed decision about
                                          15       settlement.”).
                                          16

                                          17                        6. Experience and Views of Counsel
                                          18              The next factor the Court will consider is the experience and opinion of counsel. In
                                          19       evaluating this factor, the Court notes that “[p]arties represented by competent counsel are better
                                          20       positioned than courts to produce a settlement that fairly reflects each party’s expected outcome in

                                          21       litigation.” Rodriguez v. West, 563 F.3d at 967 (citing In re Pac. Enters. Sec. Litig., 47 F.3d 373,

                                          22       378 (9th Cir. 1995)). Moreover, “[t]he recommendations of plaintiffs’ counsel should be given a

                                          23       presumption of reasonableness.” (In re Omnivision Techns., Inc., 559 F. Supp. 2d 1036, 1043

                                          24       (N.D. Cal. 2009) (quoting Boyd v. Bechtel Corp., 485 F. Supp. 610, 622 (N.D. Cal. 1979)). This

                                          25       factor weighs in favor of approval in light of Class Counsel’s experience with these types of class

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                                           1       action cases rooted in issues involving online technology and consumer privacy. See Final

                                           2       Approval Motion at 36–37. The Court also notes that Class Counsel was appointed as such by this

                                           3       Court after a leadership fight among the seven plaintiffs’ firms involved in this litigation. See

                                           4       Order Appointing Interim Class Counsel, Docket Item No. 59.

                                           5

                                           6                         7. Presence of a Government Participant

                                           7                Although no government entity was or is a party to this action, Netflix complied with the

                                           8       notice requirement of the Class Action Fairness Act (CAFA), 28 U.S.C. § 1715 and provided the

                                           9       requisite notice to government officials. See Pls.’ Final Approval Mot. Ex. H. “Although CAFA
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                                          10       does not create an affirmative duty for either state or federal officials to take any action in response
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                                          11       to a class action settlement, CAFA presumes that, once put on notice, state or federal officials will
                                          12       raise any concerns that they may have during the normal course of the class action settlement
                                          13       procedures.” Garner, No. 08-CV-1365-CW, 2010 WL 1687832, at *14. The Court notes that the
                                          14       Office Attorney General of the Texas sent a letter dated July 9, 2012, which expressed concerns
                                          15       regarding the proposed settlement. See Letter from Wade Phillips, Assistant Attorney General of
                                          16       Texas, to Hon. Edward J. Davila, Judge, Northern District of California (July 9, 2012) (on file with
                                          17       the United States District Court, Northern District of California). This letter urged the Court not to
                                          18       approve the settlement for similar reasons as do many of the class member Objections. 2 The Court
                                          19       will address—and ultimately overrule—these Objections that contain such reasoning in Part IV of
                                          20       this Order below.

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                                          25         The letter expresses concerns with the cy pres nature of distribution, the fact that the individual class members do not
                                                   receive monetary compensation, and that Class Counsel receives 25% of the $9,000,000.00 Settlement Fund as an
                                          26       award.

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                                           1                         8. Reaction of Class Members

                                           2                The next factor the Court must consider is the reaction of the class to the proposed

                                           3       settlement. Hanlon 150 F.3d at 1026. The Settlement Class consists of some 62 million members.

                                           4       As of November 27, 2012, 2508 class members opted out of the settlement—approximately one in

                                           5       every 24,800 class members. See Exclusion List, Affidavit of Tore Hodne Ex. A. Approximately

                                           6       110 class members filed objections with the Court 3—approximately one in every 560,000 class

                                           7       members. Courts have considered relatively low numbers of objectors compared to the class size to

                                           8       weigh in favor of settlement. See, e.g., Churchill, 361 F.3d at 577 (affirming approval of class

                                           9       action settlement with 45 objections from a 90,000-person class); Hanlon, 150 F.3d at 1027 (“[T]he
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                                          10       fact that the overwhelming majority of the class willingly approved the offer and stayed in the class
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                                          11       presents at least some objective positive commentary as to its fairness”); In re TD Ameritrade
                                          12       Acc’t Holder Litig., Nos. C 07–2852 SBA, C 07–4903 SBA, 2011 WL 4079226, at *7 (N.D. Cal.
                                          13       Sept. 13, 2011) (finding that reaction of a class was “positive” where there were “only 23
                                          14       [objections] and less than 200 [opt-outs]” out of six million class members receiving notice);
                                          15       Browning v. Yahoo! Inc., No. 04-C-01463-HRL, 2007 WL 4105971, at *12 (N.D. Cal. Nov. 16,
                                          16       2007) (concluding that a ratio of one objector for every 100,720 class members to be a “low”
                                          17       objection rate “even compared to objection rates in other, similar class action settlements”); Nat’l
                                          18       Rural Telecomms. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 529 (C.D. Cal 2004) (“[T]he absence
                                          19       of a large number of objections to a proposed class action settlement raises a strong presumption
                                          20       that the terms of a proposed class settlement action are favorable to the class members.”). The

                                          21       Court agrees and concludes that this factor weighs in favor of settlement. See Lane, 696 F.3d 811;

                                          22       Google Buzz, No. 10-00672-JW, 2011 WL 7560099. Nevertheless, the Court will still consider and

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                                                   3
                                          25        The properness of the filing of several objections is disputed by Plaintiffs. See Pls.’ Reply Memo. in Supp. of Final
                                                   Approval Mot. 1 n.1. For the purposes of this Order the Court has considered the substantive arguments of all
                                          26       objections, even those whose properness of filing is under dispute.

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                                           1       address the substantive arguments raised by the Objections to the Settlement Agreement in Part IV

                                           2       of this Order below.

                                           3

                                           4              C. Notice

                                           5              Under Federal Rule of Civil Procedure 23(c), the parties need only provide notice

                                           6       “reasonably certain to inform the absent members of the plaintiff class[.]” Silber v. Mabon, 18 F.3d

                                           7       1449, 1454 (9th Cir. 1994) (internal quotation marks omitted). The notice need only “generally

                                           8       describe[ ] the terms of the settlement in sufficient detail to alert those with adverse viewpoints to

                                           9       investigate and to come forward and be heard.” Churchill, 361 F.3d at 575 (internal quotation
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                                          10       marks omitted); see also Mendoza v. Tucson Sch. Dist. No. 1, 623 F.2d 1338, 1351 (9th Cir. 1980)
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                                          11       (“Notice in a class suit may consist of a very general description of the proposed settlement.”).
                                          12              In this case the parties created and agreed to perform a Notice Plan, which was outlined in
                                          13       the Preliminary Approval Order. See Settlement Agreement § 4; Preliminary Approval Order at 6–
                                          14       8. This plan included providing class members with notice via email, creating and maintaining a
                                          15       settlement website containing pertinent and detailed information regarding the settlement, and
                                          16       notification via print and online publication. The Court finds that this plan has met the
                                          17       requirements of Rule 23 and due process and that it has been fully and properly implemented by
                                          18       the parties and the Settlement Administrator. Additionally, as noted, the Court has found that
                                          19       notice had been properly given to the appropriate federal and state government officials in
                                          20       accordance with CAFA.

                                          21

                                          22              D. Attorneys’ Fees

                                          23              Under the Settlement Agreement, Netflix has agreed to pay Class Counsel a fee award of up

                                          24       25% of the Settlement Fund plus reimbursement of up to $25,000.00 of costs and expenses.

                                          25       Settlement Agreement § 9.1. Accordingly, Class Counsel seeks attorneys’ fees of $2,250,000.00

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                                           1       plus the $25,000.00 in costs and expenses. Final Approval Motion at 41. Class Counsel contends

                                           2       that this fee request is appropriate under the percentage-of-the-fund analysis with the lodestar

                                           3       cross-check.

                                           4

                                           5                      1. Percentage-of-the-Fund

                                           6              For common fund settlements, like the one before the Court, the Ninth Circuit has set a

                                           7       “benchmark” fee award at 25% of the recovery obtained. Vizcaino v. Microsoft Corp., 290 F.3d

                                           8       1043 (9th Cir. 2002); In re Bluetooth Headset Prods. Liab. Litig., 645 F.3d 935 (9th Cir. 2011). A

                                           9       district court may depart from this benchmark after providing adequate explanation of “special
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                                          10       circumstances” so justifying. Id. at 942. “The Ninth Circuit has set forth a non-exhaustive list of
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                                          11       factors which may be relevant to the district court's determination of the percentage ultimately
                                          12       awarded: (1) the results achieved; (2) the risk of litigation; (3) the skill required and quality of
                                          13       work; (4) the contingent nature of the fee and the financial burden carried by the plaintiffs; and (5)
                                          14       awards made in similar cases.” Tarlecki v. bebe Stores, Inc., No. C 05-1777 MHP, 2009 WL
                                          15       3720872, at *4 (N.D. Cal. Nov. 3, 2009) (citing Vizcaino, 290 F.3d at 1048–50).
                                          16              The Court finds that Class Counsel’s request for $2,250,000.00 meets the Ninth Circuit’s
                                          17       benchmark test and is appropriate under the present circumstances. The Court has taken into
                                          18       account the complexity of this litigation, the novelty and risk of the claims and Plaintiffs’ theory of
                                          19       the case, potential potent defenses and weaknesses of the case, the favorable result Class Counsel
                                          20       has achieved on behalf of Plaintiffs and the Class, and other factors in finding that no departure

                                          21       from this benchmark is warranted. The Court also notes that this attorneys’ award is similar to that

                                          22       of similar settlements involving cy pres distribution. See, e.g., Google Buzz, No. 10-00672-JW,

                                          23       2011 WL 7560099; Lane v. Facebook, Inc., No. C 08-3845 RS, 2010 WL 2076916 (N.D. Cal. May

                                          24       24, 2010).

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                                           1                      2. Lodestar Comparison

                                           2              “[W]hile the primary basis of the fee award remains the percentage method, the lodestar

                                           3       [method] may provide a useful perspective on the reasonableness of a given percentage award.”

                                           4       Vizcaino, 290 F.3d at 1050. The “lodestar method” of calculating attorneys’ fees “involves

                                           5       multiplying the number of hours the prevailing party reasonably expended on the litigation by a

                                           6       reasonably hourly rate.” Staton, 327 F.3d at 965 (internal quotation marks omitted). The lodestar

                                           7       method is merely a “cross-check” to test the percentage figure’s reasonableness under the

                                           8       circumstances of the case; the lodestar method’s limitations lie in its creating a possible incentive

                                           9       for counsel to expend more hours than is necessary on a litigation or to delay settlement. Vizcaino,
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                                          10       290 F.3d at 1050 n.5.
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                                          11              Here, Class Counsel calculates attorneys’ fees under the lodestar method to be $1,352,025
                                          12       plus costs of $47,502.56. Final Approval Motion at 50. Counsel provides sufficient support for this
                                          13       calculation considering reasonable hours and rates. See id. at 50–52. Moreover, the Court agrees
                                          14       with Class Counsel’s suggested lodestar multiplier of 1.66 which would equate attorneys’ fees with
                                          15       the amount calculated under the percentage method. This multiplier figure is comparable to other
                                          16       multipliers in similar approved settlements. See, e.g., Google Buzz, No. 10-00672-JW, 2011 WL
                                          17       7560099; Lane, No. C 08-3845 RS, 2010 WL 2076916. As such, the Court finds that the lodestar
                                          18       method of fee calculation confirms the reasonableness of the percentage-based calculation.
                                          19

                                          20              E. Incentive Awards

                                          21              “[N]amed plaintiffs, as opposed to designated class members who are not named plaintiffs,

                                          22       are eligible for reasonable incentive payments.” Staton, 327 F.3d at 977. In judging the

                                          23       appropriateness of incentive awards a district court should use “relevant factors includ[ing] the

                                          24       actions the plaintiff has taken to protect the interests of the class, the degree to which the class has

                                          25       benefitted from those actions . . . the amount of time and effort the plaintiff expended in pursuing

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                                           1       the litigation . . . and reasonabl[e] fear[s of] workplace retaliation.” Id. (internal quotation marks

                                           2       omitted).

                                           3              The Settlement Agreement provides that the Class Representatives and named Plaintiffs in

                                           4       the Related Actions shall receive a total Incentive Award of $30,000 from the Settlement Fund.

                                           5       Settlement Agreement § 9.2. The Agreement designates that “Class Counsel shall have the sole

                                           6       responsibility of ensuring that the collective Incentive Award is distributed appropriately . . . .”

                                           7       Id.§ 9.2. Class Counsel requests dividing this award as follows: $6000 to each of the four Class

                                           8       Representatives and $3000 to each of the two named Plaintiffs in the Related Actions. Final

                                           9       Approval Motion at 55. The Class Representatives and named Plaintiffs in this case assumed the
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                                          10       responsibilities and burdens of acting as representatives in this lawsuit, including expending time
    United States District Court




                                          11       participating in the litigation of the case with Class Counsel as well as facing public scrutiny

                                          12       through media coverage of this high profile suit. Accordingly, the Court finds the incentive award

                                          13       to be reasonable in light of the incentive award eligibility factors set forth in Staton.

                                          14

                                          15       IV.    Objections to the Settlement Agreement and Awards
                                          16              The Court now turns to the substance of the Objections to the Settlement Agreement. The
                                          17       Objectors bear the burden of proving any assertions they raise challenging the reasonableness of a
                                          18       class action settlement. United States v. Oregon, 913 F.2d 576, 581 (9th Cir. 1990). The Court
                                          19       iterates that the proper standard for approval of the settlement is whether it is fair, reasonable,
                                          20       adequate, and free from collusion—not whether the class members could have received a better

                                          21       deal in exchange for the release of their claims. See Hanlon 150 F.3d at 1027 (“Settlement is the

                                          22       offspring of compromise; the question we address is not whether the final product could be prettier,

                                          23       smarter or snazzier, but whether it is fair, adequate and free from collusion.”). The Court also

                                          24       reasserts that the proper notice procedures were followed in this case which allowed class members

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                                          28       Case No.: 5:11-CV-00379 EJD
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                                                   OF CY PRES AWARDS; AWARD OF ATTORNEYS’ FEES AND EXPENSES AND
                                                   INCENTIVE AWARD
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                                           1       to opt out of the Settlement Agreement and preserve their potential claims if they were unhappy

                                           2       with the results of the Agreement.

                                           3               After reviewing the Objections the Court has determined that they are to be overruled. 4 The

                                           4       Court will provide an explanation of this determination with regard to some of the meritorious

                                           5       arguments raised in the Objections.

                                           6

                                           7               A. Objections to the Cy Pres Nature of Funds Distribution

                                           8               A majority of the Objections criticize the Settlement’s use of the cy pres method of

                                           9       distribution of the Settlement Fund. Many of these Objections present philosophical and
For the Northern District of California




                                          10       generalized attacks on the law providing for cy pres distribution in class action settlements. Similar
    United States District Court




                                          11       Objections express disapproval that the charitable cy pres organizations, and not the class
                                          12       members, receive the monetary settlement funds. Objections of this nature find no support in the
                                          13       law; as the Court has explained, cy pres distribution has been found to be an appropriate relief
                                          14       mechanism. See, e.g., Lane, 696 F.3d at 819; Nachshin, 663 F.3d at 1036. Further, as noted,
                                          15       Plaintiffs have made a sufficient showing that the cost of distributing the settlement to the 62
                                          16       million individual class members would exceed the size of the fund, thus making such a remedy
                                          17       cost-prohibitive and infeasible.
                                          18               Other objections take issue with the process by which the cy pres recipients were selected,
                                          19       arguing that the individual class members should have been the ones making such decisions.
                                          20       Again, the law in this Circuit rejects this notion: “We do not require as part of that doctrine that

                                          21       settling parties select a cy pres recipient that the court or class members would find ideal. On the

                                          22       contrary, such an intrusion into the private parties’ negotiations would be improper and disruptive

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                                                   4
                                                    Shortly before and after the Final Fairness hearing, there have been several requests to file and strike additional
                                          24       briefings in this matter. See Docket Item Nos. 231, 239, 243, 246, 253. Netflix’s Motion to Strike, Docket Item No.
                                                   231, is GRANTED. Class Member Tanner’s Motion for Leave to File Supplementary Memorandum, Docket Item No.
                                          25       239, is DENIED. Netflix’s Motion to file a Surreply, Docket Item No. 243, is DENIED. Netflix’s Motion to Strike,
                                                   Docket Item No. 246, is GRANTED. Class Counsel’s Motion for Leave to File Instanter, Docket Item No. 253, is
                                          26       DENIED.

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                                           1       to the settlement process.” Lane, 696 F.3d at 820–21; see also Hanlon, 150 F.3d at 1027. In fact,

                                           2       contrary to the contentions of these types of Objections, Class Counsel set up an application system

                                           3       which included fielding input and suggestions from Class Members as to which organizations

                                           4       should be named as cy pres recipients.

                                           5               A next line of argument raised by some of these Objections challenge the types of

                                           6       organizations selected as cy pres recipients. Some suggest that funds should be distributed to other

                                           7       charities for the purposes of helping the poor or needy. This argument does not take into account

                                           8       Ninth Circuit precedent, which requires that “[c]y pres distributions account for the nature of the

                                           9       plaintiffs’ lawsuit, the objectives of the underlying statutes, and the interests of the silent class
For the Northern District of California




                                          10       members, including their geographic diversity.” Nachshin, 663 F.3d at 1036. On the opposite end
    United States District Court




                                          11       of the spectrum, other Objections suggest there is not a sufficient nexus between the recipients and
                                          12       the claims alleged in this litigation. The Court rejects these arguments having found the cy pres
                                          13       recipients to be sufficiently related to the issues that form the core of this lawsuit. As noted, the
                                          14       organizations provide an array of consumer advocacy, protection, and education services in the
                                          15       field of online privacy. As such, the Court overrules these Objections.
                                          16

                                          17               B. Objections Suggesting an “In-Kind” Form Relief
                                          18               Several Objections suggest an alternative “in-kind” form of relief such as, among others, a
                                          19       reduction in Netflix member dues or a free month of Netflix services. These Objections have many
                                          20       flaws some of which include failing to demonstrate the economic feasibility of such a form of relief

                                          21       or failing to take into account class members who are no longer Netflix customers. But

                                          22       notwithstanding the weaknesses of these suggestions, the Court notes that these Objections merely

                                          23       suggest a different or arguably better settlement award rather than sufficiently calling into question

                                          24       the fairness or adequacy of the Agreement. Hanlon, 150 F.3d at 1027 (“Of course it is possible, as

                                          25       many of the objectors’ affidavits imply, that the settlement could have been better. But this

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                                           1    possibility does not mean the settlement presented was not fair, reasonable or adequate.”).

                                           2    Accordingly, these types of Objections are overruled.

                                           3

                                           4           C. Objections to the Amount of the Settlement Fund

                                           5           Several Objections call into question the amount of the Settlement Fund, claiming it is too

                                           6    small. As explained above, the Court has found that the amount of the cash settlement to be fair

                                           7    and adequate considering the strength of Plaintiffs’ case, potential defenses, experience and

                                           8    opinion of counsel, the settlement amount of similar class action litigations, and other factors.

                                           9    Again, the Court has been instructed not to substitute its own judgment for that of the parties who
For the Northern District of California




                                          10    were the ones actually engaging in the negotiations. See Pac. Enterprises Sec. Litig., 47 F.3d at 378
    United States District Court




                                          11    (“Parties represented by competent counsel are better positioned than courts to produce a
                                          12    settlement that fairly reflects each party’s expected outcome in litigation.”).
                                          13

                                          14           D. Objections to the Injunctive Relief
                                          15           Another group of Objections takes issue with the injunctive relief provided for as part of the
                                          16    Settlement Agreement. These Objections argue that the decoupling of information is reversible or
                                          17    unconnected to the wrongs for which Plaintiffs sought relief in bringing this suit. Like with many
                                          18    of the others, these Objections do not sufficiently show that the injunctive relief is inherently unfair
                                          19    so as to disapprove of the Settlement Agreement. To the contrary, the injunctive relief seeks to
                                          20    prevent Netflix from engaging in precisely the activity which underlies this class action. In Lane,

                                          21    the Ninth Circuit approved of this type of injunctive relief despite objections suggesting that the

                                          22    complained-of activity have already been ceased by the defendant in that case. See Lane 696 F.3d

                                          23    at 825 (approving an injunction that required defendant Facebook to terminate the complained-of

                                          24    Beacon program over objections that Beacon had already been terminated). As for the Objections’

                                          25    suggestions that the decoupling is reversible, the Court notes that if it reversed the decoupling,

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                                           1    Netflix would be violating the Court-approved Settlement Agreement. As such, these Objections

                                           2    are overruled.

                                           3

                                           4           E. Objections to Attorneys’ Fees and Incentive Wards

                                           5           A sizeable group number of Objections challenge the Settlement Agreement’s provisions

                                           6    with regard to attorneys’ fees for Class Counsel and incentive awards to the Named Plaintiffs and

                                           7    Class Representatives. These objections amount to generalized quarrels with the law regarding

                                           8    such fees and awards in class action settlements, the processes used to calculate such fees, and

                                           9    whether the fees and awards are justified in light of Settlement Agreement. These arguments ignore
For the Northern District of California




                                          10    the well-established Ninth Circuit law regarding attorneys’ fees and incentive awards, which have
    United States District Court




                                          11    been addressed above. Because the Court has found that the fees and awards are reasonable and

                                          12    proper under the law, these objections are rejected.

                                          13

                                          14    V.     Conclusion and Order

                                          15           For the foregoing reasons, the Court finds that the Settlement Agreement including the

                                          16    Award of Attorneys’ Fees, Expenses, and Incentive Award, is fair, adequate, and reasonable; that it

                                          17    satisfies Federal Rule of Civil Procedure 23(e) and the fairness and adequacy factors of this

                                          18    Circuit; and that it should be approved and implemented as set out in this Court’s Final Order and

                                          19    Judgment. The Final Approval Motion is therefore GRANTED.

                                          20           Since this Order effectively disposes of the entire case, the Clerk shall close this file upon

                                          21    entry of Judgment.

                                          22    IT IS SO ORDERED.

                                          23    Dated: March 18, 2013

                                          24                                                           _________________________________
                                                                                                       EDWARD J. DAVILA
                                          25                                                           United States District Judge
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                           IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: IMPRELIS HERBICIDE                           2:11-MD-02284-GP
 MARKETING, SALES PRACTICES AND
 PRODUCTS LIABILITY LITIGATION                       MDL NO. 2284


 THIS DOCUMENT RELATES TO                            DECLARATION IN SUPPORT OF
                                                     MOTION FOR ATTORNEYS’ FEES
        ALL ACTIONS                                  AND REIMBURSEMENT OF
                                                     EXPENSES


        I, RICHARD J. ARSENAULT, declare as follows:


        1.         I am a member of the law firm of NEBLETT, BEARD & ARSENAULT. I am

submitting this declaration in support of Co-Lead Counsels’ petition for an award of attorneys’

fees and expenses in connection with services rendered in the above-captioned action.

        2.         My firm has acted as counsel for Plaintiff(s) Charles Huffman and the Classes in

this action.

        3.         During the course of this litigation, my firm has been involved in the following

activities on behalf of the Class at the request of my fellow Co-Lead Counsel or Liaison

Counsel in addition to the other activities inherent in my full, active participation in all aspects

of the litigation in my role as Co-Lead Counsel:

               •   coordinated and managed Settlement Class Counsel’s expert team, which
                   included leading academic and industry experts from a variety of
                   disciplines;

               •   took sworn statement at defense counsel’s office in Chicago of Jon Claus,
                   DuPont’s Global Technical Product Manager, regarding issues associated
                   with latency and the biodegradation process;
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            •   active participation in the lengthy settlement negotiations and the
                associated due diligence and drafting various generations of settlement
                agreement from inception to final agreement;

            •   assisted in responding to hundreds of inquiries from Class Members and
                Class Members’ attorneys; provided status reports, details regarding the
                proposed Settlement and answered associated questions;

            •   document review and analysis of evidence uncovered during the discovery
                process;

            •   preparation and attendance at all court hearings and conferences;

            •   preparation and participation in weekly (or as needed) Co-Lead Counsel
                conference calls;

            •   provided litigation updates as needed to fellow Settlement Class Counsel; and

            •   active participation in pleadings, motion practice and associated research.

       4.       During the litigation, my firm kept contemporaneous time and expense records.

At the request of Co-Lead Counsel and Liaison Counsel, we regularly submitted time and

expense reports based on these records to Labaton Sucharow, LLP.

       5.       The schedule attached as Exhibit 1 is a detailed summary indicating the amount

of time—by category—spent by the partners, attorneys, and other professional support staff of

my firm who were involved in the work described above undertaken at the request or under the

direction of Co-Lead Counsel and Liaison Counsel in this litigation, and the lodestar

calculation based on my firm’s current billing rates from inception of the case through June 30,

2013, as well as the status of the billing person (partner, associate, or paralegal) and number of

years admitted to the bar (or its equivalent). The schedule was prepared from

contemporaneous, daily time records regularly prepared and maintained by my firm, which

have been provided to Co-Lead Counsel and Liaison Counsel for review. The lodestar

calculations exclude time for any work related to this case unless such work was authorized by



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Co-Lead or Liaison Counsel. The hourly rates for the partners, attorneys, and professional

support staff in my firm included in Exhibit 1 are the same as the usual and customary hourly

rates currently charged for their services in similar complex class action litigation matters.

       6.      The total number of hours expended on this litigation by my firm from inception

through June 30, 2013 on the work described above is 1,771.75 hours. The total lodestar

expended on this litigation by my firm from inception through June 30, 2013 on the work

described above is $1,120,588.50.

       7.      My firm’s lodestar figures are based on the firm’s current billing rates, which do

not include charges for expense items. Expense items are billed separately, and such charges

are not duplicated in my firm’s billing rates.

       8.      As detailed in Exhibit 2, my firm has incurred a total of $52,526.72 in

unreimbursed expenses incurred from the inception of this litigation through June 30, 2013 in

connection with its performance of work in this litigation as described above.

       9.      The expenses incurred by my firm in this action are reflected on the books and

records of my firm. These books and records were prepared from expense vouchers, check

records, and other similar source materials and represent an accurate recordation of the

expenses incurred.

       I declare under penalty of perjury under that the foregoing statements are true and

correct.

       Executed on this 5th day of August 2013 at Alexandria, Louisiana.


                                                      /s/ Richard J. Arsenault
                                                      RICHARD J. ARSENAULT




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                                                                                EXHIBIT 1
                                                In re Imprelis Herbicide Marketing, Sales Practices, and Products Liability Litigation

                                                                                   TIME REPORT

FIRM NAME:                         Neblett, Beard & Arsenault
REPORTING PERIOD:                  Inception through June 30, 2013


(1)   Investigations                                                 (5) Settlement
(2)   Discovery                                                      (6) Class Certification
(3)   Pleadings, Briefs                                              (7) Trial & Preparation
(4)   Court Appearances & Preparation                                (8) Case Management & Litigation Strategy


                       Status /                                                                                                Total
                       Number of                                                                                   Current    Hours
                       Years                                                                                       Hourly      This      Lodestar This Cumulative   Cumulative
Name                   Admitted             1          2         3        4        5        6        7           8  Rate      Period        Period       Hours       Lodestar
Richard J. Arsenault
                                                                                                                     750.00
                       P/33             97.65     95.95     95.20    47.50    180.20    0.10    21.60      522.65             1,060.85      795,637.50   1,060.85     795,637.50
LaToya Burrell         A/4                         1.50                                                              450.00       1.50          675.00       1.50         675.00
Jennifer Hoekstra      A/6               5.55      3.45      9.40               6.05                        10.35    595.00      34.80       20,706.00      34.80      20,706.00
Laura Singletary       A/4                                  18.60                                           13.80    450.00      32.40       14,580.00      32.40      14,580.00
Mary Nell Bennett      A/4               2.00                                                                        450.00       2.00          900.00       2.00         900.00
Douglas Rushton        A/2              86.25     76.35     88.00    48.00     60.75             3.50      276.60    450.00     639.45      287,752.50     639.45     287,752.50
Todd Campbell          A/6                                                                                   0.75    450.00       0.75          337.50       0.75         337.50
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TOTAL                                191.45      177.25    211.20    95.50    247.00    0.10    25.10      824.15             1,771.75    1,120,588.50   1,771.75   1,120,588.50

Status
Partner (P)
Associate (A)
Paralegal (PL)

Number of Years Admitted
The number of years admitted to the bar (for attorneys) or the number of years of law-related employment

[E.g., P / 15]
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                                  Exhibit J
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                                  Exhibit 1
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                                  Exhibit K
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: IMPRELIS HERBICIDE MARKETING,            :
SALES PRACTICES AND PRODUCTS LIABILITY          :
LITIGATION                                      :                     MDL No. 2284
                                                :                     11-md-02284
________________________________________________:
                                                :
THIS DOCUMENT APPLIES TO:                       :
ALL ACTIONS                                     :


                                             ORDER

       AND NOW, this ____ day of October, 2013, upon consideration of the Motion for Final

Approval of Class Action Settlement (Docket Nos. 186, 187, 188), Plaintiffs’ Motion for

Attorneys’ Fees (Docket Nos. 189, 191), various objections (Docket Nos. 197-208, 215-217,

220-234, 239), Plaintiffs’ replies and supplements (Docket Nos. 213-214, 241-242), the

Kipphorn Objectors’ Motion for Discovery and Evidentiary Hearing (Docket No. 236), and

Plaintiffs’ Opposition (Docket No. 237-238), and following a Final Fairness Hearing on

September 27, 2013, it is hereby ORDERED that Plaintiffs’ Motions (Docket Nos. 186-89, 191)

are GRANTED, and the Kipphorns’ Motion (Docket No. 236) is DENIED. Furthermore, the

Court makes the following findings, as more fully outlined in the accompanying memorandum of

law:

       1.      The Court has jurisdiction over the subject matter of this action.

       2.      Terms used in this Order that are defined in the Settlement Agreement, unless

otherwise defined herein, have the same meanings in this Order as in the Settlement Agreement.

       3.      For purposes of settlement only, pursuant to Federal Rules of Civil Procedure

23(a) and 23(b)(3), the following nationwide classes are certified:



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               Property Owner Class (Class 1):

               All persons or entities who (a) own or owned property in the United States to
               which Imprelis was applied from August 31, 2010 through August 21, 2011, or
               (b) own or owned property in the United States adjacent to property to which
               Imprelis was applied from August 31, 2010 through August 21, 2011 and whose
               trees show damage from Imprelis on or before the date of entry of the Preliminary
               Approval Order (“Adjacent Property Owner”). Excluded from Class 1 are (1) any
               Judges to whom this Action is assigned and any members of their immediate
               families and (2) any property owners whose properties were used for the testing
               of Imprelis or developmental formulations containing the same active ingredient.

               Applicator Class (Class 2):

               All persons or entities that, from August 31, 2010 through August 21, 2011,
               purchased Imprelis (and/or received Imprelis directly or indirectly from a
               purchaser) and applied it to property in the United States as part of their normal
               business, other than property that they own or owned (“Applicators”). Excluded
               from Class 2 are any Judges to whom this Action is assigned and any members of
               their immediate family.

               Golf Courses and Other Self Applicators Class (Class 3):

               All persons or entities that, from August 31, 2010 through August 21, 2011,
               purchased Imprelis (and/or received Imprelis directly or indirectly from a
               purchaser) and applied it to properties in the United States that they own or owned
               (“Self Applicators”). Excluded from Class 3 are any Judges to whom this Action
               is assigned and any members of their immediate family.

       4.      The Settlement Classes fully comply with the requirements of Federal Rule of

Civil Procedure 23, in that “(1) the [Settlement Classes are] so numerous that joinder of all

members is impracticable; (2) there are questions of law or fact common to the [Settlement

Classes]; (3) the claims or defenses of the representative parties are typical of the claims or

defenses of the [Settlement Classes]; and (4) the representative parties will fairly and adequately

protect the interests of the [Settlement Classes].” Fed R. Civ. P. 23(a). In addition, “the court

finds that the questions of law or fact common to class members predominate over any questions




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affecting only individual members, and that a class action is superior to other available methods

for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

       5.      The Court finds that the Settlement is entitled to an initial presumption of fairness

because the settlement negotiations were undertaken at arms’ length by experienced counsel after

substantial discovery.

       6.      Upon consideration of the factors outlined by the Third Circuit Court of Appeals

in Girsh v. Jepson, 521 F.2d 153, 156 (3d Cir. 1975) and pursuant to Federal Rule of Civil

Procedure 23(e), the Court finds that the Settlement is fair, reasonable, and adequate.

       7.      The Court has considered the oral and written objections and finds that these

objections are all overruled.

       8.      Notice of the Settlement Agreement to the Settlement Classes has been provided

in accordance with the Court’s Order granting preliminary approval. Such notice constitutes the

best notice practicable under the circumstances and satisfies the requirements of Federal Rule of

Civil Procedure 23(e) and due process.

       9.      Defendants have filed notification of this Settlement with the appropriate federal

and state officials pursuant to the Class Action Fairness Act of 2005 (“CAFA”), 28 U.S.C. §

1715. No objections or requests for hearings have been made by any federal or state official

within 90 days from the date on which Defendant fulfilled its obligations under CAFA.

       10.     The Settlement Agreement is finally approved pursuant to Federal Rule of Civil

Procedure 23(e) as fair, reasonable, and adequate, and the parties are directed to consummate the

Settlement Agreement in accordance with its terms.

       11.     The United States District Court for the Eastern District of Pennsylvania shall

retain jurisdiction over the implementation, enforcement, and performance of this Settlement



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Agreement, and shall have exclusive jurisdiction over any suit, action, motion, proceeding, or

dispute arising out of or relating to this Settlement Agreement or the applicability of this

Settlement Agreement that cannot be resolved by negotiation and agreement by Plaintiffs and

DuPont. This shall include resolution of any matters which may arise related to the allocation

and distribution of attorneys’ fees, expenses, and incentive awards. This Settlement Agreement

shall be governed by and interpreted according to the substantive laws of the State of Delaware

without regard to its choice of law or conflict of laws principles. DuPont submits to jurisdiction

in the Eastern District of Pennsylvania only for the purposes of this Settlement Agreement and

the implementation, enforcement, and performance thereof. DuPont otherwise retains all

defenses to the Court’s exercise of personal jurisdiction over it.

       12.     The individuals and entities listed on Exhibit A of Plaintiffs’ Supplemental

Exhibits (Docket No. 241) submitted timely requests for exclusion from the Classes in

accordance with the requirements set forth in this Court’s February 11, 2013, or will, by

agreement of the parties, be permitted to opt out of the Classes, despite untimely or incomplete

requests for exclusion. They will not receive any benefits under the Settlement but will not be

bound by any determinations of judgments entered in this Action.

       13.     Counsel for Plaintiffs are awarded attorneys’ fees in the amount of $6,500,000

and costs in the amount of $500,000.

       14.     Incentive awards for settlement class representatives are awarded in the amount of

$63,000 (22 individual property owners shall receive an incentive award of $1,500, and 12 multi-

residential or commercial property owners, golf courses, and lawn care operators shall each

receive an incentive award of $2,500).




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       15.     Settlement Class Counsel are responsible for allocating and distributing attorneys’

fees and expenses among Counsel for Plaintiffs. Settlement Class Counsel are also responsible

for allocating and distributing the incentive awards among settlement class representatives.



                                                     BY THE COURT:

                                                     S/Gene E.K. Pratter
                                                     GENE E.K. PRATTER
                                                     UNITED STATES DISTRICT JUDGE




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                                  Exhibit L
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                         Case No. 1:1 -cv-03350
IN RE MICI-IAELS STORES PIN PAD
LITIGATION                                               CLASS ACTION

                                                         Honorable Thomas M. Durkin

This Documents Relates to All Actions


                DECLARATiON OF FRED T. ISQUITH IN SUPPORT OF
                 AN AWARD OF ATTORNEY’S FEES AND COSTS, AND
                AWARD OF INCENTIVE FEES TO NAMED PLAINTIFFS


        I, Fred Taylor Isquith, being competent to testify, make the following declaration based

on my own personal knowledge and the records of my law office.

        1.     I am   an attorney duly licensed to practice in the State of New York.        I am a
partner of the law firm Wolf Haldenstein Adler Freeman & Herz LLP a New York limited

liability partnership, as well as Wolf Haldenstein Adler Freeman & I-Ierz. LLC. organized under

the laws of Illinois (WolfHaldenstein’).

       2.      Wolf Haldenstein is a full-service law firm that has provided legal services to its

clients since 1888.     Wolf Haldenstein’s Litigation Group has been recognized by courts

throughout the Country as effective and experienced in securities, consumer, ERISA and

antitrust class actions and shareholder rights litigation.       Wolf Haldenstein has extensive

experience in the litigation, trial and settlement of complex class actions.

       3.      Attached hereto as Exhibit A is a current resume detailing Wolf Haldenstein’s

experience.

       4.      This declaration is in support of plaintiffs’ motions for final approval of the class

action settlement, certification of a nationwide settlement class, an award of attorneys’ fees and

expenses, and awards of incentive fees to the named plaintiffs in connection with the proposed

settlement.
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                          Matters Relating to Attorney’s Fees and Costs


          5.     All of Wolf 1-laldenstein’s work on this matter has been purely contingent in

nature.

          6.     Wolf Haldenstein has maintained detailed and contemporaneous records of the

time spent by its lawyers, law clerks, and paralegals on this action. I have carefully reviewed the

time records and I believe them to he accurate. Attached hereto is a summary of the hours

recorded in the electronic database of Wolf Haldenstein for the litigation of this matter and

applicable rates. All of the time we are claiming was reasonably devoted to advancing and

protecting the interests of our clients and the public in this case, and would have been billed to a

fee-paying client. This time does not include any time spent on fee-related work.

          7.     Throughout my involvement in this case, I did my part in ensuring that the tasks

necessary to prosecute this case were allocated among the attorneys in my offices, and were

conducted efficiently. without undue duplication of effort, and at minimal expense. Not being

paid by the hour, plaintiffs’ counsel in this case had an incentive to conduct their efforts

efficiently.    So too, being responsible for advancing all expenses. plaintiffs’ counsel had an

incentive not to expend funds unnecessarily.

          8.     The hours expended reflect the distinct contributions of each timekeeper.

          9.     As of March 20, 2013, the total number of attorney hours spent on this case by my

firm has been over 465.5 hours and the total number of paralegal hours spent on this case by my

firm has been over 14.5 hours.        A detailed accounting of the hours spent by each Wolf

Haldenstein timekeeper and their hourly rate are reflected in Exhibit B attached hereto.

          10.     The total hours billed by our firm on this matter as of March 20, 2013. is 479.0

hours. The total lodestar based on our culTent rates is $236,668.50 as of that same date. The

rates charged for all timekeepers are consistent with the rates charged in this forum for similar

work performed by attorneys of comparable skill, experience, and reputation. The hourly rates

of the partners listed in the attached Exhibit, as well as the associates. have been approved by
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various courts. Expenses are accounted for and billed separately and are not duplicated in our

proftssional billing rates.

        11,     Our full-detailed time records for professional services will be available at the

final approval hearing or at   any   other time, should the Court wish to inspect it. It is not attached

hereto due to concerns of waiver of privilege and/or attorney work product.

        12.     As of March 20. 2013, our firm expended a total of $11,498.00 in unreimbursed

out-of-pocket costs and expenses in connection with the prosecution of this litigation. Detailed

expenses are reflected in Exhibit C hereto.

        13.     The actual expenses incurred in the prosecution of this case arc reflected on the

computerized accounting records of my law office. Those accounting records are prepared by

accounting staff from receipts and check records and accurately reflect all actual expenses

incurred.

        14.     Upon request, we will provide the Court with copies of documentation for each of

the costs listed above and itemized in the attached Exhibits.

        15.     During the course of this case, our firm was involved in communicating with the

plaintiffs by telephone and email, in addition to various in-person meetings.            Our   firm   has
received feedback and direction from the Plaintiffs we represent at different times during the

litigation, including during the negotiation process leading up to the pending settlement. Based

on the effort that they devoted to this case, my experience with awards in other class actions, and

my interpretation of federal case law, an award of compensation to them of $2,500 each for their

time. effort, and perseverance in representing the interests of the class is justified and reasonable.

        16.    I believe the Settlement reached in this matter is an excellent result, I consider the

Settlement Agreement to be fair, adequate and reasonable, and believe it to be in the best interest

of the Class as a whole.
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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed this 20th day of March, 2013, at New York. New York.




                                                        Fred T1üiflT




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        In re Michae!s Stores Pin Pad Liti&’ation

        FIRM: Wolf Haldenstein Adler Freeman & Herz LLP

        Inception through March 11, 2013

                                                 Hourly    Total Hours    Total Lodestar
       Timekeepers                      Status   Rate*       to Date          to Date
       Daniel W. Krasner                P        $890.00           4.50         $4,005.00
       Fred T. Isquith                  P        $840.00           2.00         $1,680.00
       Mark C. Silverstein              P        $505.00           3.20         $1.616.00
       Adam J. Levitt                   P        $710.00         144.60      $102,666.00
       Edmund S. Aronowitz              A        $395.00         310.20      $122,529.00
       Joseph Weiss                     PL       $295.00          11.00         $3,245.00
       Sorah Kim                        PL       $265.00           3.50          $927.50
       TOTALS                                                    479.00      S236,668.50


       Al1 hours hi//ed at   current rates.


        7 2300




                                              EXHIBIT B
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      In re Michaels Stores Pin Pad Litigation
      Wolf 1-laldenstein Adler Freeman & I-Ierz LLP
      Expense Report
      Inception through March 11, 2013

                                                       CUMULATIVE
                        DESCRIPTION                     EXPENSES
     Computer Research                                      $2217.15
     Filing Fees                                             $350.00
     Internal Reproductioni’Copies/PrintingiScanning         $848.55
     Litigation Fund Assessments                           $5,000.00
     Postage/Express Delivery/Messenger                      $364.82
     Service of Process                                        $55.00
     Telephone/Facsimile                                     $448.64
     Transcript Costs                                          $76.50
     Travel/Meals/Carfare                                  $2. 13 7.34
     TOTAL EXPENSES                                       $11,498.00




     /712300




                               EXHIBIT C
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                                 Exhibit M
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                       Case No. 1:11-cv-03350
IN RE MICHAELS STORES PIN PAD
LITIGATION                                             CLASS ACTION

---------------------------------                      Honorable Thomas M. Durkin

This Documents Relates to All Actions


 DECLARATION OF ANTONIO VOZZOLO IN SUPPORT OF FINAL SETTLEMENT
   APPROVAL, AWARD OF ATTORNEY’S FEES AND COSTS, AND AWARD OF
               INCENTIVE FEES TO NAMED PLAINTIFFS

       I, Antonio Vozzolo, being competent to testify, make the following declaration based on

my own personal knowledge and the records of my law office.

       1.      I am an attorney duly licensed to practice before all of the court of the State of

New York and I am admitted pro hac vice in this Court.         I am a partner of the law firm of

Faruqi & Faruqi, LLP (“Faruqi & Faruqi”), one of the Co-Lead Counsel appointed by this Court

in its December 19, 2012 Order.

       2.      Faruqi & Faruqi is a national law firm with offices in New York, Philadelphia, Ft.

Lauderdale and Los Angeles. Faruqi & Faruqi’s practice focuses on complex and class action

litigation involving consumer, antitrust, financial, corporate governance, and securities matters.

Faruqi & Faruqi has extensive experience in the litigation, trial and settlement of complex class

actions.

       3.      Attached hereto as Exhibit A is a current resume detailing Faruqi & Faruqi’s

experience.

       4.      This declaration is in support of plaintiffs’ motion for final approval of the class

action settlement, certification of a nationwide settlement class, an award of attorneys’ fees and

expenses, and awards of incentive fees to the named plaintiffs in connection with the proposed

settlement.
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                Matters Relating to Attorney’s Fees and Costs of Faruqi & Faruqi

       5.        All of Faruqi & Faruqi’s work on this matter has been purely contingent in nature.

       6.        Faruqi & Faruqi has maintained detailed and contemporaneous records of the time

spent by its lawyers, law clerks, and paralegals on this action. I have carefully reviewed the time

records and I believe them to be accurate. Listed below is a summary of the hours spent

litigating this matter and applicable rates. All of the time we are claiming was reasonably

devoted to advancing and protecting the interests of our client and the public in this case, and

would have been billed to a fee-paying client. This time does not include any time spent on fee-

related work.

       7.        Throughout my involvement in this case, I did my part in ensuring that the tasks

necessary to prosecute this case were allocated among the attorneys in my office and were

conducted efficiently, without undue duplication of effort, and at minimal expenses. Not being

paid by the hour, plaintiffs’ counsel in this case had an incentive to conduct their efforts

efficiently. So too, being responsible for advancing all expenses, plaintiffs’ counsel had an

incentive not to expend funds unnecessarily.

       8.        The hours expended reflect the distinct contributions of each timekeeper.

       9.        As of February 1, 2013, the total number of attorney hours spent on this case by

my firm has been over 577.75 hours. The following attorneys worked on this case:

                  Attorney                            Hours                     Rate

 Nadeem Faruqi (Partner)                              18.75                    $850.00

 Antonio Vozzolo (Partner)                            283.50                   $650.00

 Christopher Marlborough (Associate)                  169.75                   $535.00

 Courtney Maccarone (Associate)                       47.50                    $390.00

 Javier Hidalgo (Associate)                           58.25                    $375.00

       10.       As of February 1, 2013, the total number of paralegal hours spent on this case by

my firm has been 49 hours. The following paralegals worked on this case:



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                Paralegal                             Hours                       Rate

 Teresa Maloney                                       15.00                     $265.00

 Lilia Volynkova                                      23.50                     $260.00

 Bryan Rodriguez                                      5.50                      $235.00

 Danielle Serpica                                     5.00                      $235.00

       11.     The total hours billed as of February 1, 2013, is 626.75. The total lodestar based

on the law firm’s current rates is $343,950.00 as of that same date. The rates charged for all

timekeepers are consistent with the rates charged in this forum for similar work performed by

attorneys of comparable skill, experience, and reputation. The hourly rates of the partner listed

above, as well as the associates have been approved by various courts. Expenses are accounted

for and billed separately and are not duplicated in our professional billing rates.

       12.     My law firm’s full-detail invoice for professional services will be available at the

final approval hearing or at any other time, should the Court wish to inspect it. It is not attached

hereto due to concerns of waiver of privilege and/or attorney work product.

       13.     I expect my law firm to devote additional time and resources to this matter prior

to final approval.

       14.     As of February 1, 2013, my firm expended a total of $19,583.43 in unreimbursed

out-of-pocket costs and expenses in connection with the prosecution of this litigation. The

expenses break down as follows:

                Category                                             Total
                Commercial Copies                                   $482.16
                Computer & Other Research Fees                    $2,981.23
                (Lexis/Westlaw/Bloomberg)
                Courier & Overnight Delivery Services               $156.00
                Court Filing/Service Fee(s)                       $4,456.20
                Document Retrieval Service                          $281.23
                Pre-Litigation Expert/Consult.                    $1,800.00
                Litigation Fund Assessment                        $5,000.00
                Postage                                            $121.20


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                Reproduction (Internal)                             $212.67
                Telephone/Fax                                       $314.20
                Travel Expenses (including hotels,                $3,778.54
                meals & transportation)
                       Total                                     $19,583.43


       15.     The actual expenses incurred in the prosecution of this case are reflected on the

computerized accounting records of my law office. Those accounting records are prepared by

accounting staff from receipts and check records and accurately reflect all actual expenses

incurred.

       16.     Upon request, we will provide the Court with copies of documentation for each of

the costs itemized above.

       17.     During the course of this case, our firm was involved in communicating with the

plaintiffs by telephone and email, in addition to various in-person meetings. Our firm has

received feedback and direction from the Plaintiffs we represent at different times during the

litigation, including during the negotiation process leading up to the pending settlement. Based

on the effort that they devoted to this case, my experience with awards in other class actions, and

my interpretation of federal case law, an award of compensation to them of $2,500 each for their

time, effort, and perseverance in representing the interests of the class is justified and reasonable.

       18.     I believe the Settlement reached in this matter is an excellent result, I consider the

Settlement Agreement to be fair, adequate and reasonable, and believe it to be in the best interest

of the Class as a whole.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed this 21st day of March, 2013, at New York, New York.

                                                    /s/ Antonio Vozzolo
                                                   Antonio Vozzolo




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                                  Exhibit P
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 8                                UNITED STATES DISTRICT COURT
 9                              SOUTHERN DISTRICT OF CALIFORNIA
10
11 AMELIA FOOS, individually and on                )    Civil No. 11cv2794 L (MDD)
   behalf of all others similarly situated,        )
12                                                 )    ORDER GRANTING PLAINTIFF’S
                          Plaintiff,               )    MOTION FOR ATTORNEYS’ FEES
13                                                 )    [doc. #46]
   v.                                              )
14                                                 )
   ANN, INC., a Delaware corporation doing         )
15 business as Ann Taylor Retail, Inc.,            )
                                                   )
16                        Defendant.               )
                                                   )
17                                                 )
18 I.       Procedural Background
19          Prior to the final fairness hearing concerning the settlement of this class action, plaintiff’s
20 counsel filed a motion for attorneys’ fees. [doc. #29] On November 20, 2012, Sarah McDonald
21 filed an Ojection to the Settlement Agreement. After considering McDonald’s Objection, the
22 Court concluded, on balance, the relevant factors weighed in favor of a finding that the
23 settlement was fair, reasonable and adequate. The Court further held that plaintiffs’ counsel was
24 entitled to attorneys’ fees but did not award a specific amount because of the lack of
25 documentation for the fees. [doc. #39] By agreement, defendant did not oppose the full amount
26 of attorneys’ fees sought by plaintiff, $192,00.00. On January 7, 2013, plaintiffs’ counsel
27 provided supplemental information concerning the requested attorneys’ fees and costs, [doc.
28 #46] to which Objector McDonald filed a response. [doc. #55]

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 1          McDonald then filed an ex parte motion seeking disclosure of claims rate data which the
 2 Court granted. [doc. #71] The Court entered an Order requiring supplemental briefing by the
 3 parties concerning whether the Settlement Agreement in this action is a “coupon settlement”
 4 within the meaning of CAFA, [doc. #81] which the parties provided.
 5 II.      Discussion
 6          A.    Whether the Settlement Agreement is a Coupon Settlement Under CAFA
 7          The terms of the Settlement Agreement provide, inter alia, that class members would
 8 receive the choice of a voucher for either $15.00 in Ann Taylor merchandise with no minimum
 9 purchase required or a “voucher” for 20% off any merchandise purchase over $100.00, with no
10 cap. Each class member would receive one, single-use, transferable voucher, regardless of the
11 number of alleged violations, which would be valid for six months after issuance.
12          If a class member elected the $15.00 voucher, because there was no minimum purchase
13 requirement, the class member would receive a monetary benefit under this settlement without
14 needing to provide any money out-of pocket; however, if the purchase price was less than
15 $15.00, no refund of the difference would be offered.
16          Whether this action is considered a “coupon” settlement rather than one that provides for
17 what both plaintiff and defendant contend is a “voucher” settlement, became a significant issue
18 while plaintiff’s motion for attorneys’ fees was pending. The Ninth Circuit Court of Appeals
19 addressed the calculation of attorneys’ fees in the context of a coupon settlement under CAFA,
20 which was an issue of first impression. See In re HP Inkjet Printer Litigation, 716 F.3d 1173
21 (9th Cir. 2013). In HP Inkjet, objectors contended that the attorneys’ fees award violated CAFA,
22 specifically 28 U.S.C. § 1712(a)-(c), which controls the calculation of attorneys’ fees when the
23 settlement contains an award of coupons to class members or injunctive relief or equitable relief
24 or both. Id. at 1179. Although the district court found the settlement was fair, reasonable and
25 adequate, and by separate order, awarded attorneys’ fees by applying the loadstar method to an
26 estimated “ultimate value” of the settlement, the Court of Appeals reversed.
27 / / /
28 / / /

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 1          The HP Inkjet case noted that in the usual class action case,
 2                 courts try to ensure faithful representation by tying together the interests of class
                   members and class counsel. That is, courts aim to tether the value of an attorneys'
 3                 fees award to the value of the class recovery. . . .Where both the class and its
                   attorneys are paid in cash, this task is fairly effortless. . . . But where class counsel
 4                 is paid in cash, and the class is paid in some other way, for example, with coupons,
                   comparing the value of the fees with the value of the recovery is substantially more
 5                 difficult. Unlike a cash settlement, coupon settlements involve variables that make
                   their value difficult to appraise, such as redemption rates and restrictions.
 6
 7 Id. at 1179. (citations omitted.)
 8          Although CAFA defines various other terms, it does not define what constitutes a
 9 “coupon.” See 28 U.S.C. § 1711. Courts have often blurred the distinction between “coupons”
10 and “vouchers” and have considered, at times, that the terms are equivalent. They are not.1
11          The distinction between a coupon and a voucher is that a coupon is a discount on
12 merchandise or services offered by the defendant and a voucher provides for free merchandise or
13 services. In the present case, class members could choose between 20% off a future purchase at
14 Ann Taylor or a voucher in the amount of $15.00 for merchandise which allows class members
15 to select items for free. In their Settlement Agreement, plaintiff and defendant call the 20% off a
16 future purchase at Ann Taylor a voucher, when actually it is a coupon. A coupon requires a class
17 member to purchase a product or services and pay the difference between the full price and the
18 coupon discount. In the case of coupons, CAFA requires a heightened level of scrutiny to
19 determine if the value of the coupon settlement is reasonable in relation to the value of the
20 claims surrendered. A class action coupon settlement requires that attorneys’ fees “attributable to
21 the award of coupons” must be calculated using the redemption value of the coupons. § 1712(a).
22 In contrast, a voucher is more like a gift card or cash where there is an actual cash value, is
23 freely transferable and does not require class members to spend additional money in order to
24 realize the benefits of the settlement. There is no heightened level of scrutiny requirement for
25 vouchers.
26          Plaintiff contends that the present settlements is not a coupon settlement like HP Inkjet,
27
            1
28                  The HP Inkjet case noted that the label placed on non-monetary relief is not
     dispositive of whether something is a “coupon”. 716 F.3d at 1176.

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 1 because the merchandise vouchers provide for free products. But plaintiff fails to address that
 2 the other option available to class members which provides for a discounts on products, i.e.,
 3 coupons for 20% off the purchase merchandise. (Plf’s Supp. Br. at 1-6.) Rather than discuss how
 4 or why the 20% discount is not a coupon, plaintiff argues that even if this is a coupon settlement
 5 under CAFA, the Court may still use the lodestar method for determining attorneys’ fees. (Id. at
 6 6.)
 7          Defendant Ann Taylor notes the distinction between vouchers and coupon discussed
 8 above but argues that the Settlement Agreement here is not a coupon settlement within the
 9 meaning of CAFA. The Court concurs that the class members’ ability to obtain $15.00 of free
10 merchandise is a voucher because “class members who opt for the $15 off merchandise
11 certificate will have the opportunity to receive free merchandise, as opposed to merely
12 discounted merchandise,” (Dft’s Supp. Br. at 7.) but the Settlement Agreement also provides for
13 a 20% off discount on a purchase of $100.00 or more, i.e., a coupon. Defendant contends that
14 “[t]he key here is that the class members have the choice. Class members who wish to obtain
15 free merchandise, can do so.” (Id. at 8). However, merely having a choice does not transform the
16 coupon into a voucher.
17          Similarly, having a coupon option does not necessarily transform a class action settlement
18 into a coupon settlement under CAFA. Like the term “coupon”, “coupon settlement” is not
19 defined in CAFA. Although the class members here have the option of receiving a coupon
20 instead of obtaining a voucher, the Court has not found any case law to suggest that such an
21 option requires the class action to be deemed a coupon settlement as described in 28 U.S.C. §
22 1712. If this is not a coupon settlement, and the Court believes it is not, no part of §1712 is
23 applicable to the award of attorneys’ fees. The attorneys’ fees award would then be based on the
24 application of the lodestar methodology.
25          The HP Inkjet case noted that § 1712(b) applies in situations where a coupon settlement
26
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 1 also provides for non-coupon relief, such as equitable or injunctive relief:2 “the language of §
 2 1712(b) is not permissive – if class counsel wants to be paid “any” fees, and the “recovery of the
 3 coupons is not used to determine” those fees, the entirety of the payment “shall be” calculated
 4 “based upon the amount of time class counsel reasonably expended working on the action,” i.e.,
 5 using the lodestar method. 716 F.3d at 1183. But in the present case, class members also have
 6 the option of obtaining non-coupon relief in the form of a voucher – which again is more akin to
 7 cash or a gift card – and injunctive relief. The voucher cannot be considered as equitable relief
 8 and therefore, is not covered by § 1712(b)’s language of “non-coupon relief, such as equitable”
 9 relief. Nevertheless, the Court could, under this subsection, use the lodestar method to calculate
10 plaintiff’s attorneys’ fees based on the vouchers and injunctive relief.
11          As discussed above, the Court does not view this settlement as a “coupon settlement”
12 requiring the application of 28 U.S.C. §1712. Accordingly, the Court will review plaintiff’s
13 request for attorneys’ fees under the lodestar method.
14          B.     Calculation of Attorneys’ Fees
15          The Settlement Agreement provided that the amount of attorneys' fees and expenses was
16 agreed upon by the parties only after reaching agreement on all other material terms of this
17 settlement. Therefore, after the parties entered into the Settlement Agreement, they agreed that
18 Class Counsel would seek, without opposition, $192,000.00 in attorneys' fees and costs.
19          Rule 23(h) of the Federal Rules of Civil Procedure provides that “[i]n a certified class
20 action, the court may award reasonable attorney's fees and nontaxable costs that are authorized
21 by law or by the parties' agreement.” Attorneys' fees provisions included in proposed class action
22 agreements must be “fundamentally fair, adequate and reasonable.” In re Bluetooth Headset
23 Products Liab. Litig., 654 F.3d 935, 941 (9th Cir. 2011). The court is not bound by the parties'
24 settlement agreement as to the amount of attorneys' fees. Id., 654 F.3d at 943.
25          Under the Settlement Agreement, plaintiff’s counsel requests an award in the amount of
26
27          2
                 The Settlement Agreement in this case provides for injunctive relief in addition to
28 the choice of a coupon or a voucher. The voucher, being in the nature of cash or gift card which
   provides for free merchandise or services, is not equitable relief.

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 1 $192,000.00, which defendant Ann Taylor has agreed not to oppose. As previously noted, the
 2 amount of attorneys’ fees was negotiated only after an agreement was reached on all class
 3 compensation and notice terms. At the request of the Court, plaintiff’s counsel has provided
 4 additional information for determination of whether the amount sought is reasonable.
 5          In class actions that provide for injunctive relief, courts frequently use a lodestar
 6 calculation because there is no way to gauge the net value or any percentage of the settlement. In
 7 response to plaintiff’s motion, Objector McDonald, contends, inter alia, that the injunctive relief
 8 offered in the present settlement provides no meaningful relief to the class members and is
 9 therefore illusory. As a result, the Court should not award attorneys’ fees in connection with
10 work performed in obtaining the injunctive relief. The Court disagrees. While of limited
11 monetary value perhaps, the injunction entered requires defendant’s continued compliance with
12 California law, specifically Civil Code Section 1747.08, a consumer protection statute. The
13 Court will include counsel’s time spent in obtaining injunctive relief.
14          Reasonable attorney's fees must be calculated using the “lodestar” method. “The
15 ‘lodestar’ is calculated by multiplying the number of hours the prevailing party reasonably
16 expended on the litigation by a reasonable hourly rate.” Morales v. City of San Rafael, 96 F.3d
17 359, 363 (9th Cir.1996); see also Blum v. Stenson, 465 U.S. 886, 897 (1984)(The lodestar
18 calculation begins with the multiplication of the number of hours reasonably expended by a
19 reasonable hourly rate.). After computing the “lodestar,” the district court may then adjust the
20 figure upward or downward taking into consideration twelve “reasonableness” factors: (1) the
21 time and labor required, (2) the novelty and difficulty of the questions involved, (3) the skill
22 requisite to perform the legal service properly, (4) the preclusion of other employment by the
23 attorney due to acceptance of the case, (5) the customary fee, (6) whether the fee is fixed or
24 contingent, (7) time limitations imposed by the client or the circumstances, (8) the amount
25 involved and the results obtained, (9) the experience, reputation, and ability of the attorneys, (10)
26 the “undesirability” of the case, (11) the nature and length of the professional relationship with
27 the client, and (12) awards in similar cases. Morales, 96 F.3d at 363 n. 8 (quoting Kerr v. Screen
28 Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975)).

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 1          The hours expended and the rate should be supported by adequate documentation and
 2 other evidence; thus, attorneys working on cases where a lodestar may be employed should keep
 3 records and time sheets documenting their work and time spent. Hensley v. Eckerhart, 103 S. Ct.
 4 1933, 1939 (1983). But as the Supreme Court recently noted, trial courts may use “rough”
 5 estimations, so long as they apply the correct standard. Fox v. Vice, 131 S. Ct. 2205, 2216
 6 (2011).3
 7          Here, plaintiff’s counsel calculated their lodestar using current billing rates for the three
 8 attorneys who worked on this case: $585.00 per hour for Joseph J. Siprut; $425.00 per hour for
 9 Todd C. Atkins; and $325.00 per hour for Aleksandra M.S. Vold. Plaintiff asserts the requested
10 rates are reasonable and supports this contention by providing both local and national averages
11 for class action litigators. Having reviewed the evidentiary materials plaintiff has provided, the
12 Court finds that the requested hourly rates charged are reasonable.
13          Counsel also contends that their hours are supported with declarations and detailed time
14 records setting forth the hours expended, categories of the hours expended, and the dates on
15 which the time was expended. (See Plf’s Exh. 4.) Plaintiff has not provided detailed time records
16 but instead time summaries. Although much more vague than time records, the summaries and
17 declarations provide a sufficient showing of the hours counsel performed on this case. As of
18 January 7, 2013, class counsel have spent 288.4 hours in prosecuting this action, for a total
19 lodestar amount of $133,146.00. (Siprut Decl. ¶11.)
20          As previously noted, courts may enhance the lodestar figure with a multiplier. Having
21 considered the factors for enhancing the lodestar in this action, the Court finds counsel has
22 displayed skill in presenting the claims; bore some risks in bringing this action given the
23
            3
24                   “We emphasize, as we have before, that the determination of fees ‘should not
     result in a second major litigation.’ The fee applicant ... must, of course, submit appropriate
25   documentation to meet ‘the burden of establishing entitlement to an award.’ But trial courts need
     not, and indeed should not, become green-eye-shade accountants. The essential goal in shifting
26   fees ... is to do rough justice, not to achieve auditing perfection. So trial courts may take into
     account their overall sense of a suit, and may use estimates in calculating and allocating an
27   attorney's time. And appellate courts must give substantial deference to these determinations, in
     light of ‘the district court's superior understanding of the litigation.’ We can hardly think of a
28   sphere of judicial decisionmaking in which appellate micromanagement has less to recommend
     it.” Fox, 131 S. Ct. at 2216 (citations omitted)).

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 1 uncertainty in whether the claim asserted was within the statute; the class received benefits
 2 because of the action; and the requested fee will not reduce the class members’ recovery. For
 3 these reasons, the Court will enhance the lodestar figure with a multiplier of 1.42.
 4          Plaintiff also seeks out-of-pocket expenses in addition to attorneys’ fees in the amount of
 5 $2,761.98, which has been supported with sufficient documentation. (Siprut Decl. ¶12.) The
 6 $192,000 in attorneys’ fees sought includes the reimbursement of costs and expenses.
 7 III.     Conclusion
 8          Upon review of the motion briefing, supplemental papers, the objection of McDonald,
 9 declarations, including billing summaries and summary of costs and expenses for plaintiff’s
10 counsel filed in support of the motion and considering that the class counsel achieved a
11 substantial result for the class, the Court finds that a $192,000.00 award for class counsel’s fees,
12 costs and expenses of litigation is reasonable.
13          Based on the foregoing, IT IS ORDERED plaintiff’s motion for attorneys’ fees and costs
14 in the amount of $192,000.00 is GRANTED.
15          IT IS SO ORDERED.
16 DATED: September 23, 2013
17
                                                      M. James Lorenz
18                                                    United States District Court Judge
19
20 COPY TO:
21 HON. MITCHELL D. DEMBIN
   UNITED STATES MAGISTRATE JUDGE
22
23 ALL PARTIES/COUNSEL
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